Case: 3:22-cv-01899-JRK Doc #: 34-1 Filed: 12/01/23 1 of 48. PageID #: 1537
Case: 3:22-cv-01899-JRK Doc #: 34-1 Filed: 12/01/23 2 of 48. PageID #: 1538
Case: 3:22-cv-01899-JRK Doc #: 34-1 Filed: 12/01/23 3 of 48. PageID #: 1539
Case: 3:22-cv-01899-JRK Doc #: 34-1 Filed: 12/01/23 4 of 48. PageID #: 1540
Case: 3:22-cv-01899-JRK Doc #: 34-1 Filed: 12/01/23 5 of 48. PageID #: 1541
Case: 3:22-cv-01899-JRK Doc #: 34-1 Filed: 12/01/23 6 of 48. PageID #: 1542




                    EXHIBIT A
Case: 3:22-cv-01899-JRK Doc #: 34-1 Filed: 12/01/23 7 of 48. PageID #: 1543
Case: 3:22-cv-01899-JRK Doc #: 34-1 Filed: 12/01/23 8 of 48. PageID #: 1544
Case: 3:22-cv-01899-JRK Doc #: 34-1 Filed: 12/01/23 9 of 48. PageID #: 1545
Case: 3:22-cv-01899-JRK Doc #: 34-1 Filed: 12/01/23 10 of 48. PageID #: 1546
Case: 3:22-cv-01899-JRK Doc #: 34-1 Filed: 12/01/23 11 of 48. PageID #: 1547




                     EXHIBIT B
           Case: 3:22-cv-01899-JRK Doc #: 34-1 Filed: 12/01/23 12 of 48. PageID #: 1548




From:                Wynn, Dre <Dreyon.Wynn@UToledo.Edu>
Sent:                Tuesday, January 12, 2021 9:45 AM
To:                  Ziviski, Bethany L
Subject:             Re: Arbitrations



Beth,

Iamworkingonthisandwillsendthisinformationovertoday.

IwillsendoverinpartasIupdatethelogsandtransfertheinformation.

Ifthereanyissues,Iwillupdateyou.

PleaserememberthatIamworkingfromhometoday,ifyouneedtospeakwithmecallmycellphone.

Regards,




Dre Wynn, PHR, SHRM-CP, MA, MSIS, MBA, MHRLR
Director of Labor/Employee Relations & HR Compliance
Human Resources
2801 W. Bancroft St. Mail Stop 405
989.545.0569 Cell
419.530. Phone
419.530.1433 Fax



From:Ziviski,BethanyL<Bethany.Ziviski@utoledo.edu>
Sent:Tuesday,January12,20219:07AM
To:Wynn,Dre<Dreyon.Wynn@UToledo.Edu>
Subject:RE:Arbitrations
Goodmorning!
Forclarification,pleaseprovideallactivegrievancesfiledbyCWA,AFSCME,FOPandUTPPA.Iwouldlikeboththe
trackingsheetsandthegrievancetrailsforeachofthegrievances.Theseincludegrievancesforwardedtoarbitrationas
wellasgrievancesatanystageofthegrievanceprocess.Ineedtheseassoonaspossible.Whencanyouprovidethem?
Thankyou,
Bethany
From:Ziviski,BethanyL
Sent:Monday,January11,20213:17PM
To:Wynn,Dre<Dreyon.Wynn@UToledo.Edu>
Subject:RE:Arbitrations
HiDre,
                                                            1
           Case: 3:22-cv-01899-JRK Doc #: 34-1 Filed: 12/01/23 13 of 48. PageID #: 1549

PleasesendmethecurrentCWA,AFSCME,UTPPA,andFOPgrievancetrackingspreadsheets.Iamsendingyouacopyof
whatthatsheetshouldlooklikeandalloftheinformationthatshouldbeonit.
Thissheetshouldbekeptuptodatesothatwhenleadershipneedstoknowwhatgrievanceswehaveoutstanding,we
willbeabletoprovideit.Doyouhaveacurrentcopy?Ifnot,whencanyoucompletethesheetsandtgethemtome?
Thankyou,
Bethany
From:Wynn,Dre<Dreyon.Wynn@UToledo.Edu>
Sent:Monday,January11,20212:43PM
To:Ziviski,BethanyL<Bethany.Ziviski@utoledo.edu>
Subject:Arbitrations
HelloBeth,
Hereisthechartwiththearbitrationinformation:




                                                                                         
Sincerely,
Dre Wynn, PHR, SHRM-CP, MA, MSIS, MBA, MHRLR
Director of Labor/Employee Relations & HR Compliance
Human Resources
2801 W. Bancroft St. Mail Stop 405
989.545.0569 Cell
419.530.1491 Phone
419.530.1433 Fax




                                                          2
Case: 3:22-cv-01899-JRK Doc #: 34-1 Filed: 12/01/23 14 of 48. PageID #: 1550




                     EXHIBIT C
 Case: 3:22-cv-01899-JRK Doc #: 34-1 Filed: 12/01/23 15 of 48. PageID #: 1551


From:           Wynn, Dre
To:             Ziviski, Bethany L
Subject:        AFSCME Outstanding Grievance Log
Date:           Wednesday, January 13, 2021 11:53:58 AM
Attachments:    Outstanding grievances AFSCME (12.15.20).xlsx


Beth,
Please see attached AFSCME grievance log with outstanding grievances.
Sincerely,
Dre Wynn, PHR, SHRM-CP, MA, MSIS, MBA, MHRLR
Director of Labor/Employee Relations & HR Compliance
Human Resources
2801 W. Bancroft St. Mail Stop 405
989.545.0569 Cell
419.530.1491 Phone
419.530.1433 Fax
                                                                                                                                                                                                                                                          Level3
                                                                                                                                                                                                          Level1               Level2              hearing(w/in Level3final Mediation
                   Date                                                                                                                                                                                 Answer                Answer                10daysof      answer      Request     Demandfor
                Receivedby                                                                                                            AFSCMECBA                                                      (w/in10              (w/in10                 Level2      (w/in10    (Optional,    Arbitration    ArbitratorSelection               Arbitration
GrievanceNo.       HR       GrievanceFiledBy      Department                   Description                RemedySought             Article/Section             FinalOutcome              Level1      days)     Level2      days)     Level3     answer)          days)     w/in10days) (w/in10days)      (w/in15days)        Withdrawn    hearing       150days
  11Ͳ01Ͳ19                    BrandiBrackette       Registration            Employeediscipline          Removediscipline        Articles3,2,22,46   GrievancedeniedatLevel2                11/27/2019             12/17/2019               1/13/2020     1/29/2020                        Yes               abeyance
                                                                                                          Reducedisciplinelevel
                                                                        Employeediscipline;Level3and andpayemployeefor
  01Ͳ01Ͳ20      1/17/2020          Retuna            Ultrasound           1dayunpaidsuspension              missingday                     3             Level3Hearinginabeyance    Skipped     Skipped     Skipped    Skipped




                                                                            Probationaryremoval;
  01Ͳ02Ͳ20      1/24/2020     VeanettaHudson         Pharmacy                  Termination                Bringemployeeback             2,3,25          Level3Hearinginabeyance    Skipped     Skipped     Skipped    Skipped




                                                                          EmployeeDiscipline;Level4
  5Ͳ01Ͳ02       5/14/2020          Cowell            Registration              Termination                Bringemployeeback                 3             GrievancedeniedatLevel3     Skipped     Skipped     Skipped    Skipped                 9/30/2020    10/14/2020                    10/19/2020      abeyanceduetoCOVID




                                                                        EmployeeplacedinICUbutnot PayemployeePullpay
                                                                         qualifiedtoworkinICU.Pay for5shifts,followthe
  05Ͳ04Ͳ20      5/20/2020          Spellis               CRU                   employeePullPay                   CBA                  3,11,18,21        Level3Hearinginabeyance               5/21/2020               6/9/2020




  05Ͳ07Ͳ20      5/27/2020     KeiyonaJackson       InternalMed            EmployeeTermination           Bringemployeeback                 3             GrievancedeniedatLevel3     Skipped     Skipped     Skipped    Skipped




                                                                          EmployeeDiscipline;Level3
  8Ͳ01Ͳ19        8/8/2019       LakebraSims             PFS                and2daysuspension           Removediscipline               3,46            GrievancedeniedatLevel3     Skipped     Skipped     Skipped    Skipped




                                                                         MoSmithcombiningPeriop
                                                                          TechsandAnesthesiaTech
                                                                         classificationswithoutunion   Followcontract,keep
  08Ͳ04Ͳ20      8/19/2020       PeriͲOpTechs        AllAffected                    consent              positionsasbargained        3,11,18,48        Level3Hearinginabeyance    Skipped     Skipped     Skipped    Skipped




                                                   Comprehensive
                                                  CareCenter,South
  8Ͳ07Ͳ20       8/21/2020        CoriKuron        ToledoInternist         EmployeeTermination           Bringemployeeback               2,3            GrievancedeniedatLevel3     Skipped     Skipped     Skipped    Skipped                 11/4/2020    11/23/2020                    11/29/2020      abeyanceduetoCOVID




                                                   Environmental
  09Ͳ06Ͳ20      9/18/2020          Salazar            Services              EmployeeTermination           Bringemployeeback             2,3,48          GrievancedeniedatLevel3     Skipped     Skipped     Skipped    Skipped                11/18/2020     12/9/2020                    12/9/2020       abeyanceduetoCOVID




                                                  OfficeofStudent Employeediscipline;Level3and Removediscipline&
  09Ͳ07Ͳ20      9/20/2020        PaulaSims            Affairs             1daysuspension                backpay                       2,3,7,30        Level3Hearinginabeyance    Skipped     Skipped     Skipped    Skipped                inabeyance

                                                                                                          Followcontract,allow
                                                                                                            nursestoschedule
                                                                        Contractviolations;jobposting, theironcall,make
  09Ͳ08Ͳ20      9/30/2020      Nursesoncall        ALLNURSES          oncallschedule,directdealing         whole                 3,21,28,48        Level3Hearinginabeyance    Skipped     Skipped     Skipped    Skipped                inabeyance
                                                                                                             Allowemployees
                                                                                                           contractualrightsfor
                                                                        Vacationrequestsbeingdenied requestingvacation,
                                                                        bymanagement,firstcomefirst followtimelinefor
  10Ͳ01Ͳ20      10/29/2020       AllAffected        AllAffected             serve,directdealing          denial/approval               3,44            Level3Hearinginabeyance    Skipped     Skipped     Skipped    Skipped                inabeyance
                                                                                                                                                                                                                                                                                                                                                                                  Case: 3:22-cv-01899-JRK Doc #: 34-1 Filed: 12/01/23 16 of 48. PageID #: 1552




                                                                                                            Removeemployee
  12Ͳ01Ͳ20      1/12/2021       AngelHurns         PatientAccess        EmployeeDiscipline;Level1         discipline                  2,3,49          GrievancedeniedatLevel1    10/17/2020 11/23/2020              12/16/2020
                                                                                         Removeemployee
12Ͳ02Ͳ20   12/7/2020   ShareseManning   Registration         EmployeeDiscipline            discipline                2,3,7             inabeyance;unionrequestedextension
                                                         HolidayPay;employeewasnot
                                                               paidholidaypayfor    Payemployeeholiday                             GrievanceHearingschedulinginprocesswith
01Ͳ02Ͳ21   1/8/2021     CaseyGlover       Urology            Thanksgivingholidays              pay            2,3,7,14,30,47,48                  ChrisStesney
                                                                                                                                                                                          Case: 3:22-cv-01899-JRK Doc #: 34-1 Filed: 12/01/23 17 of 48. PageID #: 1553
Case: 3:22-cv-01899-JRK Doc #: 34-1 Filed: 12/01/23 18 of 48. PageID #: 1554




                     EXHIBIT D
 Case: 3:22-cv-01899-JRK Doc #: 34-1 Filed: 12/01/23 19 of 48. PageID #: 1555


From:            Wynn, Dre
To:              Ziviski, Bethany L
Subject:         RE: CWA Grievances
Date:            Thursday, January 14, 2021 11:49:41 PM
Attachments:     image001.gif
                 Outstanding Grievances-CWA (Beth).xlsx


Hello Beth,
Please find attached outstanding grievances for CWA.
I highlighted the 3 arbitrations in orange.
Sincerely,
Dre Wynn, PHR, SHRM-CP, MA, MSIS, MBA, MHRLR
Director of Labor/Employee Relations & HR Compliance
Human Resources
2801 W. Bancroft St. Mail Stop 405
989.545.0569 Cell
419.530.1491 Phone
419.530.1433 Fax
From: Ziviski, Bethany L <Bethany.Ziviski@utoledo.edu>
Sent: Thursday, January 14, 2021 10:44 AM
To: Wynn, Dre <Dreyon.Wynn@UToledo.Edu>
Subject: CWA Grievances
Hi Dre,
Did you provide the list of all CWA’s outstanding grievances? This list should include everything that
has not been withdrawn. It’s very important that we have a handle on what is still out there. If you
have already sent the list, can you please resend? I may have missed it in the business of the week.
Thank you,
Bethany
Bethany Ziviski
Executive Director, Employee/Labor Relations
And HR Compliance
Human Resources
Physical Address: 2935 East Rocket Drive
Mailing Address: 2801 W. Bancroft St., MS 205
Toledo, Ohio 43606-3390
419.530.4714
bethany.ziviski@utoledo.edu

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                                                                                                                                                                                                                                                                                                                                                 Mediation Demand
                                                                                                                                                                                                                                                                                   Level2 Level2                  Level3                    Request       for
   Date                                                                                                                                                                                                                                 Level1                                 Meeting Answer                  meeting     Level3final (Optional, Arbitration
Receivedby                           Grievance                                                                                  CWACBA                                                                                             Meeting(w/in Level1Answer             (w/in5 (w/infive               (w/in10   answer(w/in w/in15       (w/in15 Arbitration
    HR             GrievanceNo.        FiledBy               Department                              Description               Article/Section             RemedySought                         FinalOutcome              Level1     5days)       (w/in5days)    Level2    days)    days)       Level3      days)        10days)       days)       days)      hearing
3/27/2020         3/27/2020KS_3         Sullivan                   SDS                    LessSr.employeewasgivenmore  1.1,4.1,4.4,   Repaymentoflostwages,used            GrievanceinabeyanceduetoCOVID                 Due
                                                                                                   hoursthanJanae         11.1,11.2,14.1,          accurals                                                                          4/3/2020
                                                                                                                            COVID19MOU

3/31/2020        3/31/2020BB_3          Bockert             CustodialServices            LessSr.employeewasgivenmore      16,16.1,16.3, Paymoresenioremployeeswho GrievanceinabeyanceduetoCOVID
                                                                                                    hoursthanJanae                   16.5                  werebypassed
4/13/2020         04Ͳ13Ͳ20WB_6          Bockert                  All4319                 Failedtoprovide40hoursofCWA        1.1;MOU         Giveemployeestheirhours      GrievanceinabeyanceduetoCOVID
                                                                                                   sicktimeperMOU                 3/17/20
4/14/2020        4/14/2020EW_2           White                   All4319                 Staggeredschedulesandreduced        15,15.1,15.4     Payallemployeesmissinghours      GrievancedeniedatLevel3;                                                                                             5/18/2020 6/10/2020
                                                                                                       workhours                                     duetostaggered/redcued            arbitrationrequested
                                                                                                                                                                schedules
4/24/2020         4/22/2020KS_4         Sullivan    MailServicesL.Basden/R.Agard     Staggeredschedulesandreduced 1.1,11.1,15.1, Payallemployeesmissinghours GrievanceinabeyanceduetoCOVID
                                                                                                       workhours                     MOU             duetostaggered/redcued
                                                                                                                                                                schedules
5/5/2020            5/5/2020            Bockert            BuildingOperators             NotschedulingbyseniorityͲCOVID     11.6,16.5      Moresenioremployeesbepaidfor GrievanceinabeyanceduetoCOVID
                                                                                                           19                                        hoursworkedbylessersenior
                                                                                                                                                               employees
5/5/2020          5/5/2020WB_9          Bockert             PlantOperations                  Lesssenioremployeeswere          11.6,16.5      Moresenioremployeesbepaidfor GrievanceinabeyanceduetoCOVID
                                                                                                   scheduledtowork                                 hoursworkedbylessersenior
                                                                                                                                                               employees
5/19/2020        05Ͳ19Ͳ2020EW_2          White                   All4319                directdealingregardingoftemporary     9,11,23                   Unknown                   GrievancedeniedatLevel3;                                                                                             9/11/2020 9/25/2020
                                                                                                         layoffs                                                                             arbitrationrequested
7/10/2020       07/10/2020KS_12         Sullivan               UTOnͲline                   H6andStudentWorkersstillon     1.1,14.1,14.2,    ReͲcallMaryHilbertintoher  GrievanceinabeyanceduetoCOVID
                                                                                                 campusdespitelayoff          14.3,15.1,23.1,           formerposition
                                                                                                                                       23.2
8/11/2020 #08Ͳ11Ͳ2020KS_41_DJ_Williams Sullivan                 Facilities                EmployeeTermination;D.Williams                               Reinstateemployee              GrievancedeniedatLevel3;                                                                                             8/31/2020 9/14/2020 9/16/2020
                                                                                                                                                                                             arbitrationrequested
9/8/2020        09-08-2020KS_42         Sullivan         OfficeoftheRegistrar             Patricia Cameron was unjustly       1.1,21.5,31.1      ReinstatePatriciaCameron     GrievanceinabeyanceduetoCOVID
                                                                                           terminated from her position in the
                                                                                                 Office of the Registrar
1/11/2021           1/14/2021           Sullivan                Facilities                Movedworkoutofbargainingunit      1.1,1.2,4,23      ReclassifyandplaceProject
                                                                                                                                                   SpecialistintoCWAbargainingunit
                                                                                                                                                                                                                                                                                                                                                                                       Case: 3:22-cv-01899-JRK Doc #: 34-1 Filed: 12/01/23 20 of 48. PageID #: 1556
Case: 3:22-cv-01899-JRK Doc #: 34-1 Filed: 12/01/23 21 of 48. PageID #: 1557




                     EXHIBIT E
 Case: 3:22-cv-01899-JRK Doc #: 34-1 Filed: 12/01/23 22 of 48. PageID #: 1558


From:            Ziviski, Bethany L
To:              Wynn, Dre
Subject:         RE: CWA Grievances
Attachments:     image001.gif


Hi Dre,
I hope you had a nice holiday weekend.
Can you please confirm that this list represents all of the outstanding CWA grievances? Also, can you
please tell me where all of these grievances and the grievance trails are located in the Z: drive?
Thank you,
Bethany
From: Wynn, Dre <Dreyon.Wynn@UToledo.Edu>
Sent: Thursday, January 14, 2021 11:50 PM
To: Ziviski, Bethany L <Bethany.Ziviski@utoledo.edu>
Subject: RE: CWA Grievances
Hello Beth,
Please find attached outstanding grievances for CWA.
I highlighted the 3 arbitrations in orange.
Sincerely,
Dre Wynn, PHR, SHRM-CP, MA, MSIS, MBA, MHRLR
Director of Labor/Employee Relations & HR Compliance
Human Resources
2801 W. Bancroft St. Mail Stop 405
989.545.0569 Cell
419.530.1491 Phone
419.530.1433 Fax
From: Ziviski, Bethany L <Bethany.Ziviski@utoledo.edu>
Sent: Thursday, January 14, 2021 10:44 AM
To: Wynn, Dre <Dreyon.Wynn@UToledo.Edu>
Subject: CWA Grievances
Hi Dre,
Did you provide the list of all CWA’s outstanding grievances? This list should include everything that
has not been withdrawn. It’s very important that we have a handle on what is still out there. If you
have already sent the list, can you please resend? I may have missed it in the business of the week.
Thank you,
Bethany
Bethany Ziviski
Executive Director, Employee/Labor Relations
And HR Compliance
Human Resources
Physical Address: 2935 East Rocket Drive
Mailing Address: 2801 W. Bancroft St., MS 205
Toledo, Ohio 43606-3390
419.530.4714
bethany.ziviski@utoledo.edu
 Case: 3:22-cv-01899-JRK Doc #: 34-1 Filed: 12/01/23 23 of 48. PageID #: 1559


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Case: 3:22-cv-01899-JRK Doc #: 34-1 Filed: 12/01/23 24 of 48. PageID #: 1560




                      EXHIBIT F
 Case: 3:22-cv-01899-JRK Doc #: 34-1 Filed: 12/01/23 25 of 48. PageID #: 1561


From:            Ziviski, Bethany L
To:              Wynn, Dre
Subject:         Some follow up items
Attachments:     image001.gif


Hi Dre,
In follow up to our discussions and emails, please complete the following by tomorrow at noon:
    1. You indicated that you have been storing everything on a flash drive rather than in the HR
        LaborRelation shared drive. Please put all University documents that you have on your flash
        drive on the shared drive, including the log of the MOUs you mentioned. If you do not have
        time to file the documents under the appropriate folders today, you may create a new folder
        under the LaborRelation folder with your name on it. All documents should be stored in the
        shared drive in the appropriate bargaining unit folders moving forward.
    2. After speaking with Kathy Sullivan, it is my understanding that CWA currently has
        approximately 30 grievances outstanding. The list you provided me has 12 grievances on it.
        Please complete the list with the remaining outstanding grievances. As we have discussed,
        this information is essential given our contract status with the CWA.
    3. Please confirm that the list of AFSCME grievances you provided represents all of the
        outstanding grievances with the bargaining unit, with the exception of the new grievances
        filed this week. It is my understanding based on your recent email that we have received
        several new grievances this week and that you will be adding those grievances to the
        grievance log.
    4. Please ensure all grievances, responses, notes, and exhibits are in the shared drive in the
        Labor Relations folder.
            a. Please put the AFSCME grievances in the Z: drive under
                HR/LaborRelation/AFSCME/Grievances.
            b. Please put the CWA grievances in the Z: drive under HR/LaborRelation/CWA/Grievance
                Response CWA.
             c. Please put the UTPPA grievances in the Z: drive under
                HR/LaborRelation/UTPPA/Grievance Response UTPPA.
If you have any questions, please let me know. I am happy to help.
Thank you,
Bethany
Bethany Ziviski
Executive Director, Employee/Labor Relations
And HR Compliance
Human Resources
Physical Address: 2935 East Rocket Drive
Mailing Address: 2801 W. Bancroft St., MS 205
Toledo, Ohio 43606-3390
419.530.4714
bethany.ziviski@utoledo.edu

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Case: 3:22-cv-01899-JRK Doc #: 34-1 Filed: 12/01/23 26 of 48. PageID #: 1562




                     EXHIBIT G
 Case: 3:22-cv-01899-JRK Doc #: 34-1 Filed: 12/01/23 27 of 48. PageID #: 1563


From:           Wynn, Dre
To:             Ziviski, Bethany L
Subject:        FW: Report of CWA employees at MCMC
Date:           Thursday, January 14, 2021 10:03:53 AM
Attachments:    image003.jpg
                Current CWA List.xlsx


Beth,
Per your request, see attached information on CWA MCMC employees provided by HRIS.
Dre
From: Otti, Sean Ezeani <Sean.Otti@UToledo.edu>
Sent: Thursday, January 14, 2021 10:02 AM
To: Wynn, Dre <Dreyon.Wynn@UToledo.Edu>
Cc: Halsey, Mark Allen <Mark.Halsey@UToledo.edu>
Subject: RE: Report of CWA employees at MCMC
Hello Dre,
Attached is your requested CWA data.
Thank you!
Sean Otti, M.B.A
+5,6$GPLQLVWUDWRU
+XPDQ5HVRXUFHV
419.530.14343KRQH
VHDQRWWL#XWROHGRHGX


From: Wynn, Dre <Dreyon.Wynn@UToledo.Edu>
Sent: Wednesday, January 13, 2021 4:36 PM
To: Otti, Sean Ezeani <Sean.Otti@UToledo.edu>
Subject: Report of CWA employees at MCMC
Hello Sean,
Can you please run a report of all CWA employees at MCMC. Can your report include the following:
       Employee name
       Classification
       FTE
       Hourly rate
       Hire date
Your help is greatly appreciated.
Thanks,,
Dre Wynn, PHR, SHRM-CP, MA, MSIS, MBA, MHRLR
Director of Labor/Employee Relations & HR Compliance
Human Resources
2801 W. Bancroft St. Mail Stop 405
989.545.0569 Cell
419.530.1491 Phone
419.530.1433 Fax
    ID         LAST_NAME       FIRST_NAME    CONTRACT_TYPE                 TITLE            EMP_CLASS      EMP_CLASS_DESC           ORG                      ORG_DESC         SAL_TABLE SAL_GRADE   FTE REG_RATE ANN_SALARY SENIORITY_DATE CURRENT_HIRE_DATE
R00001175 Phares            Tamara          P              InstructionalLaboratoryCoord   H4        CommWorkersofAmericaPT   101980 BioͲEngineering                    CD               28    0.8   $26.56 $44,195.84      9/11/2000          9/11/2000
R00001325 Norrils           Vita            P              Secretary1                      H3        CommWorkersofAmericaFT   101910 Chem/EnviorEngr                CD               26      1   $23.14 $48,131.20       2/2/1998           2/2/1998
R00001326 Samples           Pamela          P              Secretary2                      H4        CommWorkersofAmericaPT   101230 Chemistry                           CN               27   0.75   $24.36 $38,001.60     11/12/1986          7/31/1986
R00001331 Garber            Joyce           P              DataAccessControlSpecialist   H3        CommWorkersofAmericaFT   103170 Registrar                CD               29      1   $28.75 $59,800.00      3/23/1983          3/23/1983
R00001447 Dokurno           Mona            P              StudentServicesCoord2         H3        CommWorkersofAmericaFT   102780 UnivCollegeDegreePrograms        CD               29      1   $28.75 $59,800.00      5/31/1992          5/31/1992
R00001455 Davis             Charles         P              FiscalSpecialist1              H3        CommWorkersofAmericaFT   101230 Chemistry                           CD               30      1   $31.17 $64,833.60      5/10/1990          5/10/1990
R00001460 Spearman          Lula            P              CustodialWorker                 H3        CommWorkersofAmericaFT   105570 MCBuildingServices                CN               13      1   $18.83 $39,166.40      9/17/2005          9/17/2005
R00001462 Kuhl              Robin           P              Secretary1                      H3        CommWorkersofAmericaFT   101100 Theatre                             CN               26      1   $22.70 $47,216.00     12/19/2000         12/19/2000
R00001528 Sanders           Anita           P              CustodialWorker                 H3        CommWorkersofAmericaFT   105570 MCBuildingServices                CN               13      1   $19.21 $39,956.80      5/27/1996          5/24/1994
R00001531 Horton            Lilla           P              Admin.Assistant1               H4        CommWorkersofAmericaPT   101290 Mathematics                         CN               28   0.75   $24.24 $37,814.40      1/14/2002          1/14/2002
R00001651 Nobles            Tonya           P              CustodialWorker                 H3        CommWorkersofAmericaFT   105570 MCBuildingServices                CN               13      1   $19.21 $39,956.80      9/30/2000          9/30/2000
R00001732 Watts             Diana           P              TransitServicesCoordinator     H3        CommWorkersofAmericaFT   110900 FacilitiesOperAdmin               CN               28      1   $25.72 $53,497.60      12/4/2000          12/4/2000
R00001736 Middlebrooks      Pamela          P              CustodialWorker                 H3        CommWorkersofAmericaFT   105570 MCBuildingServices                CN               13      1   $19.21 $39,956.80      7/17/2000          7/17/2000
R00001759 Rose              Charles         P              MaintRepairWorker3            H3        CommWorkersofAmericaFT   105670 Maintenance/Structur                CN                8      1   $26.10 $54,288.00      2/11/1997          2/11/1997
R00001780 Butler            Constance       P              Secretary2                      H4        CommWorkersofAmericaPT   112170 DeanͲNSM                          CN               27    0.5   $24.36 $25,334.40      5/31/1994          5/31/1994
R00001783 Losek             Janine          P              ProgramAccreditationSpeciali   H3        CommWorkersofAmericaFT   102210 PharmacyPractice                CN               30      1   $30.56 $63,564.80      5/22/1985          5/22/1985
R00001784 Ware              Anthony         P              CustodialWorker                 H3        CommWorkersofAmericaFT   105570 MCBuildingServices                CN               13      1   $19.21 $39,956.80      6/10/1996          6/10/1996
R00001799 Armstead          Tommie          P              CustodialWorker                 H3        CommWorkersofAmericaFT   105570 MCBuildingServices                CN               13      1   $18.83 $39,166.40      9/17/2005          3/26/2007
R00001809 Barry             Renee           P              CustodialWorker                 H3        CommWorkersofAmericaFT   105570 MCBuildingServices                CN               13      1   $19.21 $39,956.80      3/11/2001          2/27/2000
R00001834 Nagy              Karin           P              CustodialWorker                 H3        CommWorkersofAmericaFT   105570 MCBuildingServices                CN               13      1   $18.91 $39,332.80      7/19/2004          7/19/2004
R00001851 Ankney            William         P              AirQualityTechJourneyman      H3        CommWorkersofAmericaFT   105670 Maintenance/Structur                CN               10      1   $30.64 $63,731.20      9/17/1995          9/17/1995
R00001858 Warren            Talven          P              CustodialWorker                 H3        CommWorkersofAmericaFT   105570 MCBuildingServices                CN               13      1   $18.91 $39,332.80       4/4/2004           4/4/2004
R00001956 Palazzolo         Marilyn         P              Secretary2                      H3        CommWorkersofAmericaFT   107720 SchoolofExerciseRehabSciences   CN               27      1   $24.36 $50,668.80       1/8/2001           1/8/2001
R00001965 Smith             Stephen         P              InstructionalMediaSpecialist   H3        CommWorkersofAmericaFT   100530 ClassroomSupportServices          CD                7      1   $24.90 $51,792.00       7/5/1994           7/5/1994
R00002007 Blackford         Sandra          P              CustodialWorker                 H3        CommWorkersofAmericaFT   105570 MCBuildingServices                CN               13      1   $19.06 $39,644.80       9/7/2002           8/5/2002
R00002085 Sukalo            Carol           P              DataSystemsCoord.2            H3        CommWorkersofAmericaFT   103100 EnrollmentOperations               CD               30      1   $24.48 $50,918.40      12/1/2014          7/25/2011
R00002086 Kaminski          Anthony         P              ChemicalStorekeeper2           H3        CommWorkersofAmericaFT   101230 Chemistry                           CD               29      1   $28.20 $58,656.00       5/2/2005           5/2/2005
R00002092 Longacre          Stephanie       P              ClericalSpecialist              H4        CommWorkersofAmericaPT   106160 ParkingServices                    CN               25   0.63   $21.57 $28,041.00       1/6/2003           1/6/2003
R00002124 Lanz              Robin           P              GrantsCoordinator3             H3        CommWorkersofAmericaFT   107920 Research&SponsoredPrograms       CD               32      1   $38.54 $80,163.20     10/24/1994         10/24/1994
R00002130 Riley             John            P              PoliceDispatchCoordinator      H3        CommWorkersofAmericaFT   106040 UniversityPolice                   CN                9      1   $28.26 $58,780.80      1/20/1997          1/20/1997
R00002176 Everett           Jairus          P              CustodialWorker                 H3        CommWorkersofAmericaFT   105570 MCBuildingServices                CN               93      1   $19.31 $40,164.80      2/10/1986          2/10/1986
R00002267 Hemming           Matthew         P              Groundskeeper3                  H3        CommWorkersofAmericaFT   105630 CareOfGroundsͲMC                CN                7      1   $24.01 $49,940.80      8/30/2004          8/30/2004
R00002352 Pirolli           Gary            P              PoliceDispatcher2              H3        CommWorkersofAmericaFT   106040 UniversityPolice                   CN                7      1   $24.41 $50,772.80      10/4/1981         10/17/1997
R00002460 Kaetzel           Stephanie       P              ChemicalStorekeeper2           H3        CommWorkersofAmericaFT   101230 Chemistry                           CD               29      1   $28.75 $59,800.00     10/23/2000         10/23/2000
R00002468 Dierker           Michael         P              BuildingAutomationSysTech     H3        CommWorkersofAmericaFT   105620 AutomationͲHSC                    CN               11      1   $33.39 $69,451.20       8/7/2000           8/7/2000
R00002485 Kamcza            Kristin         P              ProgramAccreditationSpeciali   H3        CommWorkersofAmericaFT   102210 PharmacyPractice                CN               30      1   $30.47 $63,377.60      2/23/2001          2/23/2001
R00002504 Simon             Anne            P              Secretary1                      H3        CommWorkersofAmericaFT   101730 Dept.TeacherEd/Chair              CN               26      1   $22.70 $47,216.00      11/7/1988          6/23/1997
R00002513 Reynolds          Brian           P              PlumberJourneyman               H3        CommWorkersofAmericaFT   105590 Maintenance/Mechanic                CN               10      1   $30.64 $63,731.20     11/22/1995         11/22/1995
R00002514 Grandowicz        Christina       P              TelephoneCoordinator            H3        CommWorkersofAmericaFT   106130 TelecommͲCellular                   CN               28      1   $25.93 $53,934.40       7/1/2001          7/15/2000
R00002515 Slatton           Eugene          P              AirQualityTechJourneyman      H3        CommWorkersofAmericaFT   105590 Maintenance/Mechanic                CN               10      1   $30.64 $63,731.20       7/2/1990           7/2/1990
R00002523 Palmer            Alanna          P              CustodialWorker                 H3        CommWorkersofAmericaFT   105570 MCBuildingServices                CN               13      1   $18.91 $39,332.80     11/14/2004         10/21/2007
R00002577 Hodges            Thomas          P              BuildingOperator                H3        CommWorkersofAmericaFT   105640 Maintenance/BuildingOperators      CN               10      1   $29.96 $62,316.80      2/16/2006          9/19/2005
R00002580 Bowers            Stacy           P              StudentServCounselor1         H3        CommWorkersofAmericaFT   106940 AcademicAthleticAdvising          CD               27      1   $24.85 $51,688.00       1/3/1995           1/3/1995
R00002587 Agard             Renee           P              DeliveryWorker1                H3        CommWorkersofAmericaFT   106100 MailServices                       CN                4      1   $20.93 $43,534.40      5/21/2001          5/21/2001
R00002695 Szymanski         Thomas          P              CustodialWorker                 H3        CommWorkersofAmericaFT   105570 MCBuildingServices                CN               93      1   $19.31 $40,164.80      9/30/1991          9/30/1991
R00002698 Johnson           Patricia        P              PublicInquiriesAssistant1     H3        CommWorkersofAmericaFT   105520 FacilitiesMgtAdmin                CN               27      1   $24.36 $50,668.80      12/9/1985          12/9/1985
R00002699 Middlebrooks      Cora            P              CustodialWorker                 H3        CommWorkersofAmericaFT   105570 MCBuildingServices                CN               13      1   $19.21 $39,956.80      11/1/1998         10/11/1998
R00002756 Young             Lisa            P              DirectServiceProvider          H3        CommWorkersofAmericaFT   106850 RocketSolutionCentral             CD               29      1   $28.75 $59,800.00      11/6/1995          11/6/1995
R00002765 Shepard           Debra           P              Admin.Assistant2               H4        CommWorkersofAmericaPT   102840 DeanͲUnivCollege                 CN               30    0.8   $30.56 $50,851.84     10/18/2000           7/7/2008
R00002767 Hudson            Myra            P              CustodialWorker                 H3        CommWorkersofAmericaFT   105570 MCBuildingServices                CN               93      1   $19.31 $40,164.80      9/12/1985          9/12/1985
R00002786 Jones             Robert          P              Programmer/Analyst2             H4        CommWorkersofAmericaPT   103210 FinancialAid                       CD               30   0.75   $25.18 $39,280.80      1/29/2014          1/29/2014
R00002816 Hart              Jeffrey         P              CustodialWorker                 H3        CommWorkersofAmericaFT   105570 MCBuildingServices                CN               93      1   $19.31 $40,164.80      4/11/1993          3/18/1993
R00002825 Aldrich           Judith          P              StudentAccountSpecialistII    H3        CommWorkersofAmericaFT   106240 Treasurer'sOffice                  CN               27      1   $24.17 $50,273.60       2/3/2003           2/3/2003
R00002831 Lepla             Dawn            P              RecordsMgmtOfficer1           H3        CommWorkersofAmericaFT   103170 Registrar                CN               27      1   $24.36 $50,668.80       1/6/1992           1/6/1992
R00002851 Taylor            Lisa            P              Admin.Assistant1               H4        CommWorkersofAmericaPT   100610 GraduateStudies                CD               28   0.75   $23.85 $37,206.00       1/3/2005           1/3/2005
R00002877 Sroczynski        Donald          P              DirectServiceProvider          H3        CommWorkersofAmericaFT   106850 RocketSolutionCentral             CM               29      1   $23.89 $49,691.20       6/2/2014           6/2/2014
R00002894 Horsman           Andrew          P              Painter2                        H3        CommWorkersofAmericaFT   105670 Maintenance/Structur                CN                8      1   $26.10 $54,288.00     11/10/1986         11/10/1986
R00002895 Whitehead         Dianna          P              CustodialWorker                 H3        CommWorkersofAmericaFT   105570 MCBuildingServices                CN               13      1   $19.06 $39,644.80     10/14/2002         10/14/2002
R00002900 Espinosa          Jeanette        P              Secretary1                      H3        CommWorkersofAmericaFT   104360 AlumniRelations                CN               26      1   $22.70 $47,216.00     12/16/2002         12/16/2002
R00002901 Bejarano          Armando         P              DirectServiceProvider          H3        CommWorkersofAmericaFT   106850 RocketSolutionCentral             CD               29      1   $28.75 $59,800.00      3/18/1996          3/18/1996
R00002955 Gorshoff          Stephanie       P              AdmissionsAnalyst2             H3        CommWorkersofAmericaFT   103100 EnrollmentOperations               CN               27      1   $23.98 $49,878.40      7/18/2005          7/18/2005
R00002966 Livingston        Marnita         P              CustodialWorker                 H3        CommWorkersofAmericaFT   105570 MCBuildingServices                CN               13      1   $19.21 $39,956.80      10/4/1998          5/18/1997
R00002984 SturtͲGillespie   Brianne         P              LabTechnologist                 H4        CommWorkersofAmericaPT   101220 BiologicalSciences                 CD               27   0.75   $22.24 $34,694.40       4/9/2007           4/9/2007
                                                                                                                                                                                                                                                                 Case: 3:22-cv-01899-JRK Doc #: 34-1 Filed: 12/01/23 28 of 48. PageID #: 1564




R00003018 Almanza           Mary            P              DirectServiceProvider          H3        CommWorkersofAmericaFT   106850 RocketSolutionCentral             CN               29      1   $28.18 $58,614.40      5/22/1995          5/22/1995
R00003075 Stambaugh         Regina          P              Secretary2                      H3        CommWorkersofAmericaFT   101330 Economics                           CN               27      1   $24.36 $50,668.80      6/21/1993          11/1/2008
R00003094 Mynihan           Cassandra       P              TelephoneCoordinator            H3        CommWorkersofAmericaFT   106130 TelecommͲCellular                   CM               28      1   $26.42 $54,953.60      4/11/2005          4/11/2005
R00003126 Thoman            Kevin           P              DataSystemsCoord.1            H3        CommWorkersofAmericaFT   105780 ITPersonnel                        CN               29      1   $28.18 $58,614.40      9/23/1991          6/22/1989
R00003136 Monhollen         Mark            P              CustodialWorker                 H3        CommWorkersofAmericaFT   105570 MCBuildingServices                CN               13      1   $19.21 $39,956.80       8/7/2000           5/4/2000
R00003137 Brown         Shelia      P   CustodialWorker                 H3   CommWorkersofAmericaFT   105570 MCBuildingServices                  CN   13      1   $19.21   $39,956.80     1/8/2001     1/8/2001
R00003139 Rodriguez     Teresa      P   Admin.Assistant1               H3   CommWorkersofAmericaFT   103180 UndergraduateAdmission               CN   28      1   $26.04   $54,163.20    10/4/1990    10/4/1990
R00003141 Brown         Valerie     P   LibraryAssociate1              H3   CommWorkersofAmericaFT   100490 UniversityLibraries                  CM   27      1   $24.79   $51,563.20     8/1/2002     8/1/2002
R00003179 Welsh         James       P   CustodialWorker                 H3   CommWorkersofAmericaFT   105570 MCBuildingServices                  CN   13      1   $19.21   $39,956.80    5/25/1998    5/25/1998
R00003180 Hartford      Jeff        P   MaintRepairWorker2            H3   CommWorkersofAmericaFT   105670 Maintenance/Structur                  CN    5      1   $21.80   $45,344.00   10/25/1993    9/13/1993
R00003182 Ramos         Jennifer    P   Secretary1                      H4   CommWorkersofAmericaPT   100760 LLSS,NSM,CommArtsStudentService   CD   26    0.5   $23.14   $24,065.60     1/8/2001     1/8/2001
R00003218 Lake          Jeanette    P   CustodialWorker                 H3   CommWorkersofAmericaFT   105570 MCBuildingServices                  CN   93      1   $19.31   $40,164.80    4/25/1990    4/25/1990
R00003231 Condon        Ronald      P   ElectricianJourneyman2         H3   CommWorkersofAmericaFT   105580 Maintenance/Electric                  CN   12      1   $36.42   $75,753.60    4/13/1998    4/13/1998
R00003236 Knox          Kenny       P   CustodialWorker                 H3   CommWorkersofAmericaFT   105570 MCBuildingServices                  CN   13      1   $19.21   $39,956.80    2/10/1997    2/10/1997
R00003238 Tansel        Bradley     P   PlumberJourneyman2w/Cert      H3   CommWorkersofAmericaFT   105590 Maintenance/Mechanic                  CN   12      1   $32.28   $67,142.40    9/23/1991    9/23/1991
R00003286 McIntosh      Carol       P   CustodialWorker                 H3   CommWorkersofAmericaFT   105570 MCBuildingServices                  CN   13      1   $18.83   $39,166.40    7/25/2005    7/25/2005
R00003294 Grant         James       P   CustodialWorker                 H3   CommWorkersofAmericaFT   105570 MCBuildingServices                  CN   13      1   $19.21   $39,956.80    8/29/1998    8/29/1998
R00003301 Weis          David       P   LocksmithJourneyman1           H3   CommWorkersofAmericaFT   105540 Lockshop                              CN   10      1   $30.64   $63,731.20     9/8/1993     9/8/1993
R00003385 Steinmiller   Dawn        P   Admin.Assistant2               H3   CommWorkersofAmericaFT   103210 FinancialAid                         CD   30      1   $31.17   $64,833.60     1/2/1990     1/2/1990
R00003422 Downes        Lynne       P   RecordsMgmtOfficer1           H3   CommWorkersofAmericaFT   103210 FinancialAid                         CD   27      1   $24.85   $51,688.00    8/28/1995    12/9/1980
R00003423 Jamrozy       Marie       P   BuildingServicesWorker         H3   CommWorkersofAmericaFT   105570 MCBuildingServices                  CN    3      1   $20.01   $41,620.80     9/7/2002     9/7/2002
R00003432 Schock        David       P   AirQualityTechJourneyman      H3   CommWorkersofAmericaFT   105590 Maintenance/Mechanic                  CN   10      1   $30.64   $63,731.20    9/25/1995    8/17/1995
R00003497 Sadowy        Elizabeth   P   CustodialWorker                 H3   CommWorkersofAmericaFT   105570 MCBuildingServices                  CN   13      1   $19.21   $39,956.80    7/17/2000    11/2/1999
R00003502 Jacobs        Jeffrey     P   BuildingLifeSafetyTech3      H3   CommWorkersofAmericaFT   107000 LifeSafetySystems                   CN   31      1   $33.31   $69,284.80     1/6/1992     1/6/1992
R00003506 Gee           Marilyn     P   CustodialWorker                 H3   CommWorkersofAmericaFT   105570 MCBuildingServices                  CN   13      1   $19.21   $39,956.80    11/4/1996    11/4/1996
R00003613 Jordan        Timothy     P   PoliceDispatcher2              H3   CommWorkersofAmericaFT   106040 UniversityPolice                     CN    7      1   $24.41   $50,772.80    2/26/2001    2/26/2001
R00003660 Coopshaw      Elaine      P   BusinessServOfficer1          H4   CommWorkersofAmericaPT   100610 GraduateStudies                  CD   28   0.75   $26.56   $41,433.60    10/4/2004    10/4/2004
R00003696 McFeggan      Kenneth     P   InstructionalMediaSpecialist   H3   CommWorkersofAmericaFT   100530 ClassroomSupportServices            CD    9      1   $28.59   $59,467.20     5/5/2003     5/5/2003
R00003781 Shively       Donna       P   CustodialWorker                 H3   CommWorkersofAmericaFT   105570 MCBuildingServices                  CN   13      1   $19.06   $39,644.80     8/5/2002     8/5/2002
R00003782 Arnold        John        P   InstructionalLaboratoryCoord   H4   CommWorkersofAmericaPT   101220 BiologicalSciences                   CD   28   0.75   $26.56   $41,433.60    8/12/1999    8/12/1999
R00003801 Stewart       Roy         P   StudentLoanSpecialist2        H3   CommWorkersofAmericaFT   106240 Treasurer'sOffice                    CD   27      1   $24.74   $51,459.20    9/10/2001    9/10/2001
R00003804 Ries          Kendra      P   PoliceDispatcher2              H3   CommWorkersofAmericaFT   106040 UniversityPolice                     CN    7      1   $23.74   $49,379.20    5/21/2001    5/21/2001
R00003904 Gee           Sherman     P   CustodialWorker                 H3   CommWorkersofAmericaFT   105570 MCBuildingServices                  CN   13      1   $19.21   $39,956.80    6/10/1996    6/10/1996
R00004044 Fackelman     Ana         P   StudentServicesCoord2         H3   CommWorkersofAmericaFT   100280 CISP                                  CN   29      1   $24.46   $50,876.80    9/13/2001    9/13/2001
R00004419 Richardson    Ellen       P   PublicInquiriesAsst.1         H3   CommWorkersofAmericaFT   110900 FacilitiesOperAdmin                 CN   27      1   $24.36   $50,668.80    6/27/1994    6/27/1994
R00004421 Chick         Sandra      P   Secretary2                      H3   CommWorkersofAmericaFT   101690 DeanͲEducation                        CN   27      1   $24.36   $50,668.80    6/18/1979    10/2/1978
R00004475 Drahan        Casimir     P   ComputerOperator2              H3   CommWorkersofAmericaFT   105780 ITPersonnel                          CN   28      1   $26.04   $54,163.20     6/5/1989     6/5/1989
R00004553 Yaffe         Ellen       P   AccountClerk2                  H3   CommWorkersofAmericaFT   106250 Controller                   CN   26      1   $22.51   $46,820.80    11/9/2002    11/9/2002
R00004556 Rodgers       Anita       P   CustodialWorker                 H3   CommWorkersofAmericaFT   105570 MCBuildingServices                  CN   13      1   $19.21   $39,956.80     6/3/2001     6/3/2001
R00004606 Jacob         Thomas      P   ElectronicTechnologist2        H4   CommWorkersofAmericaPT   101990 ElectricalEngineering                CN   31    0.8   $33.19   $55,228.16     4/9/2001     4/9/2001
R00004617 Bellner       Dawn        P   DirectServiceProvider          H4   CommWorkersofAmericaPT   106850 RocketSolutionCentral               CN   29   0.75   $27.77   $43,321.20    7/11/2005    7/11/2005
R00004619 Middleton     Debra       P   Secretary2                      H4   CommWorkersofAmericaPT   101290 Mathematics                           CN   27   0.75   $24.36   $38,001.60   11/19/2001   11/19/2001
R00004623 Obee          Lynda       P   AdminAssistant1                H4   CommWorkersofAmericaPT   101190 Physics                               CD   28   0.75   $26.56   $41,433.60    1/25/1993    12/4/1992
R00004672 Morgillo      Linda       P   ClericalSpecialist9/10month   H3   CommWorkersofAmericaFT   103810 MacKinnonͲOP                          CN   25      1   $21.73   $36,680.24    9/16/2002   10/27/2000
R00004698 Johnson       Charisse    P   StudentLoanSpecialist3        H3   CommWorkersofAmericaFT   106240 Treasurer'sOffice                    CD   28      1   $26.15   $54,392.00     3/8/2004     3/8/2004
R00004722 Sorensen      Mark        P   MaintRepairJourneyman          H3   CommWorkersofAmericaFT   105670 Maintenance/Structur                  CN    9      1   $28.26   $58,780.80    7/29/1991    7/29/1991
R00004731 Brescol       Sherri      P   CustodialWorker                 H3   CommWorkersofAmericaFT   105570 MCBuildingServices                  CN   13      1   $19.21   $39,956.80   12/13/1993    11/1/1993
R00004806 Spitulski     Ralph       P   CustodialWorker                 H3   CommWorkersofAmericaFT   105570 MCBuildingServices                  CN   93      1   $19.31   $40,164.80    6/29/1983    6/29/1983
R00004817 Jaime         Adelina     P   Admin.Assistant2               H3   CommWorkersofAmericaFT   102240 PharmͲStudentSrvcs                  CN   30      1   $30.56   $63,564.80    9/17/1996    3/27/1996
R00004867 Rogers        Kristi      P   StudentLoanSpecialist3        H3   CommWorkersofAmericaFT   106240 Treasurer'sOffice                    CN   28      1   $25.93   $53,934.40    9/10/2001    9/10/2001
R00004868 Carlisle      Paris       P   CustodialWorker                 H3   CommWorkersofAmericaFT   105570 MCBuildingServices                  CN   13      1   $19.21   $39,956.80    5/19/1997    4/30/1997
R00004871 Munoz         Rosa        P   CustodialWorker                 H3   CommWorkersofAmericaFT   105570 MCBuildingServices                  CN   13      1   $19.21   $39,956.80     1/7/2001     1/7/2001
R00004913 Frazier       Nancy       P   Secretary2                      H3   CommWorkersofAmericaFT   105220 Football                  CD   27      1   $24.85   $51,688.00     8/5/1985     8/5/1985
R00004927 Overholt      Richard     P   TelecommTechSpec               H3   CommWorkersofAmericaFT   105780 ITPersonnel                          CN   34      1   $45.10   $93,808.00    5/26/1988    5/26/1988
R00004937 Cox           Angel       P   Admin.Assistant1               H3   CommWorkersofAmericaFT   101380 Psychology                            CD   28      1   $26.56   $55,244.80   10/10/1994   10/10/1994
R00004982 Sedlock       Carole      P   StudentServicesCoord2         H3   CommWorkersofAmericaFT   113270 CenterforSuccessCoaching           CN   29      1   $28.18   $58,614.40    4/25/1994    4/25/1994
R00004992 Nix           Robert      P   AsstInstructionalDesigner      H3   CommWorkersofAmericaFT   101370 UToledoOnline                        CM   30      1   $31.15   $64,792.00    5/20/2002    5/20/2002
R00005032 Scurles       Richard     P   CustodialWorker                 H3   CommWorkersofAmericaFT   105570 MCBuildingServices                  CN   13      1   $18.97   $39,457.60    1/27/2003    1/27/2003
R00005034 Adamczak      James       P   PoolTechnicianII               H3   CommWorkersofAmericaFT   105590 Maintenance/Mechanic                  CN    8      1   $25.77   $53,601.60    3/10/2003    3/10/2003
R00005092 Komives       Patricia    P   Secretary1                      H3   CommWorkersofAmericaFT   102500 SchoolofSocialJustice              CN   26      1   $22.58   $46,966.40   11/14/2001   11/14/2001
R00005148 Garcia        Sandra      P   Secretary1                      H3   CommWorkersofAmericaFT   107720 SchoolofExerciseRehabSciences     CN   26      1   $22.70   $47,216.00     1/8/1997     1/8/1997
R00005192 Bush          Tracy       P   CustodialWorker                 H3   CommWorkersofAmericaFT   105570 MCBuildingServices                  CN   13      1   $19.21   $39,956.80   10/25/1998   10/12/1998
R00005248 Bockert       Wayde       P   BldgAutomationTechnician       H3   CommWorkersofAmericaFT   105620 AutomationͲHSC                      CN   11      1   $33.39   $69,451.20    8/14/1992     7/3/1992
R00005250 Sankowski     Steven      P   DeliveryWorker2                H3   CommWorkersofAmericaFT   108070 Receiving                             CN    5      1   $21.80   $45,344.00    8/27/1990    6/27/1990
R00005260 Salazar       Soledad     P   CustodialWorker                 H3   CommWorkersofAmericaFT   105570 MCBuildingServices                  CN   13      1   $18.83   $39,166.40   10/23/2005    8/30/2004
R00005261 Miller        Daniel      P   Photographer2                   H3   CommWorkersofAmericaFT   104840 UniversityMarketing                  CD   28      1   $26.03   $54,142.40    1/12/2006    2/21/2005
R00005308 Hayes         George      P   ElectricianJourneyman2         H3   CommWorkersofAmericaFT   105580 Maintenance/Electric                  CN   12      1   $36.42   $75,753.60    1/11/1993    1/11/1993
R00005317 Hofbauer      Genevieve   P   Accountant2                     H3   CommWorkersofAmericaFT   104000 StudentActivitiesAdmin              CN   29      1   $28.18   $58,614.40   11/12/1986   11/12/1986
R00005398 Petersen      Tenley      P   DirectServiceProvider          H3   CommWorkersofAmericaFT   106850 RocketSolutionCentral               CN   29      1   $28.18   $58,614.40     2/5/1990    9/13/1989
                                                                                                                                                                                                                         Case: 3:22-cv-01899-JRK Doc #: 34-1 Filed: 12/01/23 29 of 48. PageID #: 1565




R00005404 Price         Lawrence    P   CustodialWorker                 H3   CommWorkersofAmericaFT   105570 MCBuildingServices                  CN   13      1   $18.97   $39,457.60   12/28/2003   12/28/2003
R00005407 Arquette      Kathleen    P   BusinessServOfficer1          H3   CommWorkersofAmericaFT   103750 ResHallAdmin                        CD   28      1   $26.44   $54,995.20    4/23/2001    4/23/2001
R00005415 Brown         Dennis      P   BuildingServicesWorker         H3   CommWorkersofAmericaFT   105570 MCBuildingServices                  CN    3      1   $20.16   $41,932.80    9/23/1991    9/23/1991
R00005517 Ruiz          Linda       P   Secretary2                      H3   CommWorkersofAmericaFT   102300 PharmͲMed/BioChem                  CN   27      1   $24.17   $50,273.60    5/21/2001     4/9/1991
R00005559 ParkͲThomas   Tania       P   LibraryMediaTechAsst2        H3   CommWorkersofAmericaFT   100490 UniversityLibraries                  CD   26      1   $23.14   $48,131.20    8/19/2002    3/29/2002
R00005680 Franklin      Brian        P   CustodialWorker              H3   CommWorkersofAmericaFT   105570 MCBuildingServices                CN   13    1   $18.83   $39,166.40    8/14/2005    8/14/2005
R00005682 Tierney       Cynthia      P   Admin.Assistant2            H3   CommWorkersofAmericaFT   112240 VPͲAcadProgramDevelopment       CN   30    1   $30.56   $63,564.80   11/18/1996   11/18/1996
R00005731 Welch         Susan        P   Secretary1                   H3   CommWorkersofAmericaFT   101660 Finance                CN   26    1   $22.70   $47,216.00     7/1/1991     7/1/1991
R00005737 Damschroder   Patricia     P   Secretary2                   H3   CommWorkersofAmericaFT   101320 Sociology                           CN   27    1   $24.36   $50,668.80   10/18/1980    3/10/1998
R00005746 Burns         Marcia       P   CustodialWorker              H3   CommWorkersofAmericaFT   105570 MCBuildingServices                CN   13    1   $19.11   $39,748.80     4/1/2001     4/1/2001
R00005748 Spengler      David        P   BuildingServicesWorker      H3   CommWorkersofAmericaFT   105570 MCBuildingServices                CN    3    1   $20.16   $41,932.80    10/9/1979    10/9/1979
R00005752 Helminski     Holly        P   Admin.Assistant1            H3   CommWorkersofAmericaFT   102290 Pharmacology                 CN   28    1   $26.04   $54,163.20    5/26/1998    5/26/1998
R00005764 Johnson       Deborah      P   CustodialWorker              H3   CommWorkersofAmericaFT   105570 MCBuildingServices                CN   13    1   $19.11   $39,748.80    5/21/2001     1/8/2001
R00005766 Wise          Rubye        P   ReservationsAssistant        H3   CommWorkersofAmericaFT   104210 StudentUnionͲMain                  CN   27    1   $24.25   $50,440.00    5/21/2001    5/21/2001
R00005863 Ehle          Tammy        P   DirectServiceProvider       H3   CommWorkersofAmericaFT   106850 RocketSolutionCentral             CN   29    1   $27.87   $57,969.60    3/31/2003    3/31/2003
R00005866 Smith         Kirk         P   CustodialWorker              H3   CommWorkersofAmericaFT   105570 MCBuildingServices                CN   13    1   $17.44   $36,275.20    12/5/2011    12/5/2011
R00005880 Golkiewicz    Tamara       P   Secretary2                   H3   CommWorkersofAmericaFT   101340 Geography                           CM   27    1   $24.61   $51,188.80    5/16/2005    5/16/2005
R00005883 Basden        Lynne        P   MailClerkMessenger          H3   CommWorkersofAmericaFT   106100 MailServices                       CN    3    1   $19.86   $41,308.80    3/22/2004    3/22/2004
R00005910 Michel        Shirley      P   Secretary1                   H3   CommWorkersofAmericaFT   101780 StudentServices                    CN   26    1   $22.58   $46,966.40    7/30/2001    7/30/2001
R00005933 James         Patricia     P   Secretary2                   H4   CommWorkersofAmericaPT   106040 UniversityPolice                   CD   27 0.5    $18.94   $19,697.60     9/5/2017     9/4/1985
R00005938 Reynolds      Cynthia      P   CustodialWorker              H3   CommWorkersofAmericaFT   105570 MCBuildingServices                CN   13    1   $18.91   $39,332.80    3/28/2004    3/28/2004
R00005941 Russell       Ephraim      P   CustodialWorker              H3   CommWorkersofAmericaFT   105570 MCBuildingServices                CN   13    1   $19.21   $39,956.80   10/17/1994   10/17/1994
R00006053 Kreinbrink    Jason        P   Groundskeeper2               H3   CommWorkersofAmericaFT   105630 CareOfGroundsͲMC                CD    6    1   $22.83   $47,486.40     7/6/2004     7/6/2004
R00006107 Cox           Sherry       P   RecordsMgmtOfficer2        H3   CommWorkersofAmericaFT   103170 Registrar                CN   29    1   $28.18   $58,614.40    7/16/2001    7/16/2001
R00006108 Carpenter     Thelma       P   CustodialWorker              H3   CommWorkersofAmericaFT   105570 MCBuildingServices                CN   13    1   $19.11   $39,748.80    1/22/2001    1/22/2001
R00006125 Czechowski    Kathleen     P   LeadHelpDeskCoordinator    H4   CommWorkersofAmericaPT   101370 UToledoOnline                      CD   27 0.5    $20.95   $21,788.00    9/29/2010   12/22/2003
R00006132 Boyd          Jeremy       P   Storekeeper1                 H3   CommWorkersofAmericaFT   105150 EquipmentRoom                CD   25    1   $22.00   $45,760.00     7/1/1996   12/16/2002
R00006156 Curtis        Linda        P   Secretary2                   H3   CommWorkersofAmericaFT   100880 WomenandGenderStudies            CD   27    1   $24.65   $51,272.00   11/18/2002   11/18/2002
R00006159 Berglund      Sally        P   Secretary2                   H4   CommWorkersofAmericaPT   105550 Safety&HealthͲMC                CN   27 0.5    $19.08   $19,843.20     7/5/2016     7/5/2016
R00006169 Davis         Eric         P   DirectServiceProvider       H4   CommWorkersofAmericaPT   106850 RocketSolutionCentral             CN   29 0.75   $28.09   $43,820.40    6/13/2001    6/13/2001
R00006170 Condon        Monica       P   Secretary1                   H3   CommWorkersofAmericaFT   101800 Dept.EdStudies/Chair              CN   26    1   $22.70   $47,216.00    1/22/2001    1/22/2001
R00006212 Brown         Alesia       P   Secretary1                   H3   CommWorkersofAmericaFT   111790 UpwardBound                        CD   26    1   $23.03   $47,902.40    1/29/2001    1/29/2001
R00006312 Brinkman      Lynn         P   LibraryMediaTechAsst2     H3   CommWorkersofAmericaFT   100490 UniversityLibraries                CM   26    1   $23.38   $48,630.40    5/17/1989    5/17/1989
R00006315 Madison       Cornelius    P   MaintRepairWorker3         H3   CommWorkersofAmericaFT   105670 Maintenance/Structur                CN    8    1   $26.10   $54,288.00    12/1/1990     9/5/1990
R00006317 Kuhman        Cathy        P   AdministrativeSecretary2    H3   CommWorkersofAmericaFT   103210 FinancialAid                       CN   30    1   $30.56   $63,564.80    2/26/1979    2/26/1979
R00006321 Amos          Kevin        P   InstructionalMediaSpec.1   H3   CommWorkersofAmericaFT   100530 ClassroomSupportServices          CN    7    1   $24.41   $50,772.80     3/2/1994     3/2/1994
R00006329 Mickle        Deborah      P   CustodialWorker              H3   CommWorkersofAmericaFT   105570 MCBuildingServices                CN   13    1   $19.21   $39,956.80    6/15/1998     7/6/1997
R00006390 McBride       Scott        P   BusinessServOfficer1       H3   CommWorkersofAmericaFT   112170 DeanͲNSM                          CN   28    1   $26.04   $54,163.20     3/7/1994     3/7/1994
R00006403 Czechowski    Aaron        P   ClericalSpecialist           H3   CommWorkersofAmericaFT   103860 OttawaHouse                        CD   25    1   $22.15   $46,072.00     1/2/2001     1/2/2001
R00006405 Clark         Jeffery      P   PlumberJourneyman            H3   CommWorkersofAmericaFT   105590 Maintenance/Mechanic                CN   10    1   $30.64   $63,731.20     7/7/1991    6/21/1991
R00006518 Militzer      Patsy        P   Secretary1                   H3   CommWorkersofAmericaFT   106600 Curriculum&Instruction            CN   26    1   $22.58   $46,966.40    3/11/2002    3/11/2002
R00006523 Sullivan      Kathy        P   RecordsMgmtOfficer1        H3   CommWorkersofAmericaFT   103170 Registrar                CD   29    1   $28.75   $59,800.00    9/20/1998    7/20/1998
R00006595 Garber        Jeremy       P   SoftwareSpecialist           H3   CommWorkersofAmericaFT   101850 DeanͲEngineering                CN   34    1   $45.10   $93,808.00    1/29/1996    1/29/1996
R00006648 Monroe        Mark         P   TelecommTechSpec            H3   CommWorkersofAmericaFT   105780 ITPersonnel                        CD   34    1   $46.00   $95,680.00    5/26/1988    5/26/1988
R00006659 OlivarezJr   Jose         P   Admin.Assistant2            H3   CommWorkersofAmericaFT   104930 AthleticsAdmin                     CM   30    1   $31.48   $65,478.40     9/5/2000     9/5/2000
R00006665 O'Neill       Bethan       P   ClericalSpecialist           H3   CommWorkersofAmericaFT   103850 President'sHall                    CN   25    1   $21.73   $35,637.20    4/14/1997    4/14/1997
R00006739 Roberts       Peggy        P   CustodialWorker              H3   CommWorkersofAmericaFT   105570 MCBuildingServices                CN   13    1   $18.83   $39,166.40    9/17/2005    9/17/2005
R00006824 Link          Michael      P   Groundskeeper3               H3   CommWorkersofAmericaFT   105630 CareOfGroundsͲMC                CD    7    1   $24.90   $51,792.00    7/18/1994    7/18/1994
R00006858 Mazur         Benjamin     P   LibraryMediaTechAsst2     H4   CommWorkersofAmericaPT   100490 UniversityLibraries                CD   26 0.5    $16.49   $17,149.60    3/16/2019   10/31/2016
R00006903 Gibson        Tony         P   CustodialWorker              H3   CommWorkersofAmericaFT   105570 MCBuildingServices                CN   13    1   $19.21   $39,956.80    2/10/1997    2/10/1997
R00007396 Hoagland      Matthew      P   CustodialWorker              H4   CommWorkersofAmericaPT   105570 MCBuildingServices                CN   13 0.5    $18.83   $19,583.20    1/17/2006    3/29/2006
R00007397 Edmond        Frederick    P   CustodialWorker              H4   CommWorkersofAmericaPT   105570 MCBuildingServices                CN   13 0.5    $18.83   $19,583.20     1/2/2007   11/17/2006
R00007808 Babcock       Jennifer     P   LibraryMediaTechAsst2     H3   CommWorkersofAmericaFT   100490 UniversityLibraries                CD   26    1   $19.08   $39,686.40     1/4/2016     1/4/2016
R00008686 Jones         Tamara       P   Librarian1                   H3   CommWorkersofAmericaFT   100490 UniversityLibraries                CM   28    1   $26.30   $54,704.00     3/8/2008     3/8/2008
R00009205 Smith         JoeͲWillie   P   LibraryMediaTechAsst2     H4   CommWorkersofAmericaPT   100490 UniversityLibraries                CN   26 0.5    $17.28   $17,971.20    8/13/2013    8/13/2013
R00009593 Cardinal      Christine    P   AdmissionsAnalyst2          H3   CommWorkersofAmericaFT   103100 EnrollmentOperations               CN   27    1   $20.05   $41,704.00     6/1/2015    6/14/2010
R00009961 Velliquette   David        P   LabTechnologist              H3   CommWorkersofAmericaFT   107720 SchoolofExerciseRehabSciences   CD   27    1   $21.18   $44,054.40   11/20/2007    4/14/2015
R00010132 Lamb          Denny        P   DeliveryWorker1             H4   CommWorkersofAmericaPT   106100 MailServices                       CN    4 0.5    $20.42   $21,236.80    1/16/2007    1/16/2007
R00010347 Grayczyk      Shari        P   AccountClerk3               H3   CommWorkersofAmericaFT   101340 Geography                           CD   27    1   $24.16   $50,252.80    2/19/2007    2/19/2007
R00010557 Dindyal       Irene        P   AdmissionsAnalyst2          H3   CommWorkersofAmericaFT   103100 EnrollmentOperations               CD   27    1   $23.97   $49,857.60    6/11/2007    6/11/2007
R00010600 Riddel        Angela       P   PromotionsSpecialist         H4   CommWorkersofAmericaPT   112150 DeanͲCAL                          CD   30 0.5    $30.39   $31,605.60    6/11/2007    6/11/2007
R00010602 Nieman        Erna         P   DataSystemsCoord.2         H3   CommWorkersofAmericaFT   103210 FinancialAid                       CN   30    1   $29.78   $61,942.40     4/7/2008     4/7/2008
R00011086 Woodson       Tasha        P   RecordsMgmtOfficer2        H3   CommWorkersofAmericaFT   103170 Registrar                CD   29    1   $28.01   $58,260.80     7/2/2007     7/2/2007
R00011395 Riley         Rhonda       P   CustodialWorker              H3   CommWorkersofAmericaFT   105570 MCBuildingServices                CN   13    1   $18.20   $37,856.00    5/22/2007    5/22/2007
R00011705 Sayre         Jesse        P   PoliceDispatcher2           H3   CommWorkersofAmericaFT   106040 UniversityPolice                   CN    7    1   $23.24   $48,339.20   10/24/2005   10/24/2005
R00011900 Foster        April        P   CustodialWorker              H3   CommWorkersofAmericaFT   105570 MCBuildingServices                CN   13    1   $18.91   $39,332.80    10/1/2007    10/1/2007
R00011943 Cardenas      Magdalena    P   AccountClerk3               H3   CommWorkersofAmericaFT   105760 HumanResources                     CD   27    1   $24.54   $51,043.20    7/26/2004    7/26/2004
R00012192 Hiller        Keith        P   PoliceDispatcher2           H3   CommWorkersofAmericaFT   106040 UniversityPolice                   CN    7    1   $24.41   $50,772.80    10/9/2000    12/7/2009
R00012503 Price         Karon        P   Secretary1                   H4   CommWorkersofAmericaPT   101140 Communication                       CD   26 0.75   $18.18   $28,360.80    8/15/1994    1/29/2018
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R00012570 Jividen       Kay          P   AccountClerk3               H3   CommWorkersofAmericaFT   106250 Controller                 CN   27    1   $24.36   $50,668.80    5/31/1983    5/31/1983
R00013683 Meyer         Lisa         P   LibraryMediaTechAsst2     H3   CommWorkersofAmericaFT   100490 UniversityLibraries                CN   26    1   $21.30   $44,304.00    9/18/2004    9/18/2004
R00013757 Johnson       Annette      P   RecordsMgmtOfficer1        H3   CommWorkersofAmericaFT   103170 Registrar                CN   27    1   $23.98   $49,878.40    4/15/2004    4/15/2004
R00014257 Alderman      Mary         P   Secretary2                   H4   CommWorkersofAmericaPT   101980 BioͲEngineering                    CD   27 0.8    $18.94   $31,516.16    3/27/2017    3/27/2017
R00014454 Warren        Mary         P   CustodialWorker              H3   CommWorkersofAmericaFT   105570 MCBuildingServices                CN   13    1   $16.91   $35,172.80    6/17/2008    8/29/2015
R00014572 Rose            Sandra        P   OfficeAssistant3               H3   CommWorkersofAmericaFT   105560 PlantOps                      CN   27      1   $19.55   $40,664.00   10/19/2015   10/19/2015
R00038623 Zhang           Xiaozhong     P   ProgramDatabaseAnalyst         H3   CommWorkersofAmericaFT   105710 FacilitiesPlanning                  CM   32      1   $38.00   $79,040.00    8/13/2007    8/13/2007
R00045159 Esquivel        Amada         P   Secretary1                      H3   CommWorkersofAmericaFT   112150 DeanͲCAL                            CD   26      1   $21.19   $44,075.20    1/22/2013    1/22/2013
R00048205 Williams        Tod           P   LifeSafetySystemsTech3       H3   CommWorkersofAmericaFT   107000 LifeSafetySystems                   CN   31      1   $32.22   $67,017.60    2/10/2009    2/10/2009
R00048602 Day             Jeffrey       P   AirQualityTech2               H3   CommWorkersofAmericaFT   105590 Maintenance/Mechanic                  CN    8      1   $23.10   $48,048.00   12/22/2014   12/22/2014
R00048671 Grajczyk        David         P   Secretary1                      H4   CommWorkersofAmericaPT   101250 EnvironmentalSciences                CD   26    0.5   $17.73   $18,439.20     5/1/2013    11/7/2018
R00061863 Canard          Janelle       P   Secretary1                      H4   CommWorkersofAmericaPT   101950 CivilEngineering                  CN   26    0.5   $18.25   $18,980.00     3/1/2016     3/1/2016
R00062244 Barchick        Jacqueline    P   ComputerGraphicsDesign         H3   CommWorkersofAmericaFT   104840 UniversityMarketing                  CD   29      1   $23.67   $49,233.60    12/5/2016    12/5/2016
R00062497 Grzecki         Shirley       P   EventsCoordinator1             H3   CommWorkersofAmericaFT   104360 AlumniRelations                  CN   27      1   $23.58   $49,046.40     1/5/2009     1/5/2009
R00063010 Stockard        Sandra        P   Secretary1                      H3   CommWorkersofAmericaFT   101650 Management                  CD   26      1   $22.41   $46,612.80    7/21/2008    7/21/2008
R00063841 Hubbard         Quinetta      P   Admin.Assistant1               H4   CommWorkersofAmericaPT   100130 ProvostOffice                        CN   28   0.75   $25.23   $39,358.80    5/22/2008    5/22/2008
R00067915 VanWormer       Lauri         P   Secretary1                      H4   CommWorkersofAmericaPT   100840 PreͲHealthAdvisingCenter            CN   26   0.75   $17.70   $27,612.00    8/17/2017    8/17/2017
R00086282 Mocniak         Brad          P   ElectricianJourneyman2         H3   CommWorkersofAmericaFT   105580 Maintenance/Electric                  CN   12      1   $35.06   $72,924.80   11/23/2010   11/23/2010
R00086512 Schmidt         Laura         P   AdmissionsAnalyst1             H3   CommWorkersofAmericaFT   102180 AdmissionsͲLaw                  CD   26      1   $18.05   $37,544.00     6/5/2017     6/5/2017
R00090139 Pasquinelli     Teresa        P   Secretary1                      H3   CommWorkersofAmericaFT   102630 SchoolofPopulationHealth           CD   26      1   $22.41   $46,612.80    4/14/2008    4/14/2008
R00090835 Dunseth         Talia         P   CustodialWorker                 H3   CommWorkersofAmericaFT   105570 MCBuildingServices                  CN   13      1   $17.96   $37,356.80    8/20/2011    8/20/2011
R00092833 Neeb            Kaylynn       P   StudentAccountSpecialist2     H3   CommWorkersofAmericaFT   103210 FinancialAid                         CD   27      1   $20.68   $43,014.40     5/6/2013     5/6/2013
R00094593 Buhrmester      James         P   CustodialWorker                 H3   CommWorkersofAmericaFT   105570 MCBuildingServices                  CN   13      1   $16.52   $34,361.60     2/6/2012     2/6/2012
R00094761 Parnell         Sonya         P   StudentAccountSpecialist2     H3   CommWorkersofAmericaFT   106240 Treasurer'sOffice                    CD   27      1   $17.39   $36,171.20     1/2/2020     1/2/2020
R00095338 Madrzykowski    Lesley        P   Secretary2                      H4   CommWorkersofAmericaPT   102050 EngineeringTech                      CN   27    0.8   $19.04   $31,682.56    2/27/2015     9/9/2015
R00100147 Crawford        Angela        P   CustodialWorker                 H3   CommWorkersofAmericaFT   105570 MCBuildingServices                  CN   13      1   $18.59   $38,667.20    9/29/2008    9/29/2008
R00100704 Brazeau         Sandra        P   CustodialWorker                 H3   CommWorkersofAmericaFT   105570 MCBuildingServices                  CD   13      1   $17.84   $37,107.20   12/21/2010   12/21/2010
R00111642 Alvarado        Jesus         P   MaintRepairWorker3            H3   CommWorkersofAmericaFT   105670 Maintenance/Structur                  CN    7      1   $17.37   $36,129.60    5/20/2019    5/20/2019
R00121185 Krause          Dale          P   ElectricianJourneyman2         H3   CommWorkersofAmericaFT   105580 Maintenance/Electric                  CN   12      1   $35.06   $72,924.80    7/14/2010    7/14/2010
R00128777 Connor          Patricia      P   OutptCertPharmTechͲInvSpecialt   H3   CommWorkersofAmericaFT   103870 MainCampusPharmacy                  CN    7      1   $21.94   $45,635.20    8/26/2008    11/9/2010
R00129318 Blausey         Kimberly      P   Secretary1                      H3   CommWorkersofAmericaFT   102100 LawͲInstruction                     CD   26      1   $19.70   $40,976.00     1/5/2015     1/5/2015
R00132716 Zink            Marla         P   StudentLoanSpecialist2        H3   CommWorkersofAmericaFT   106240 Treasurer'sOffice                    CD   27      1   $18.52   $38,521.60     2/5/2018     2/5/2018
R00164733 Avery           Steven        P   StudentLoanSpec2              H3   CommWorkersofAmericaFT   106240 Treasurer'sOffice                    CD   27      1   $20.97   $43,617.60     5/5/2014     5/5/2014
R00168398 Eisel           Jacqueline    P   Secretary1                      H3   CommWorkersofAmericaFT   103900 OfficeofIntlStudentScholarSrvs   CD   26      1   $22.22   $46,217.60    9/13/2010    9/13/2010
R00173636 Meinzer         Corey         P   Groundskeeper2                  H3   CommWorkersofAmericaFT   105630 CareOfGroundsͲMC                  CN    6      1   $20.41   $42,452.80    7/25/2014    7/25/2014
R00181139 Buck            Michelle      P   RecordsMgmtOfficer1           H3   CommWorkersofAmericaFT   100610 GraduateStudies                  CD   27      1   $18.28   $38,022.40   10/26/2011   10/26/2011
R00190873 Demski          Michelle      P   EventsCoordinator1             H3   CommWorkersofAmericaFT   101880 EngineeringCareerDevelopment        CN   27      1   $20.37   $42,369.60     5/4/2015     5/4/2015
R00208234 ValdesͲDapena   Mary          P   ClericalSpecialist              H3   CommWorkersofAmericaFT   102070 DeanͲLawSchool                  CN   25      1   $21.13   $43,950.40    8/20/2007    8/20/2007
R00216359 Miller          Bradley       P   BusinessServOfficer1          H4   CommWorkersofAmericaPT   101220 BiologicalSciences                   CN   28   0.75   $18.22   $28,423.20     9/3/2019     9/3/2019
R00227170 Mullins         Renee         P   CustodialWorker                 H3   CommWorkersofAmericaFT   105570 MCBuildingServices                  CN   13      1   $16.09   $33,467.20    4/10/2015    4/10/2015
R00234373 Estby           Malinda       P   GrantsCoordinator2             H3   CommWorkersofAmericaFT   107920 Research&SponsoredPrograms         CD   30      1   $22.10   $45,968.00    1/17/2017    1/17/2017
R00260440 Pacholek        Steven        P   AirQualityTechApprentice      H3   CommWorkersofAmericaFT   105590 Maintenance/Mechanic                  CN    8      1   $21.61   $44,948.80     1/7/2016     1/7/2016
R00419444 Longton         Erik          P   StudentLoanSpecialist2        H3   CommWorkersofAmericaFT   106240 Treasurer'sOffice                    CM   27      1   $23.12   $48,089.60    11/4/2013    11/4/2013
R00420081 Brown           Chad          P   BuildingServicesWorker         H3   CommWorkersofAmericaFT   105570 MCBuildingServices                  CN    3      1   $16.96   $35,276.80    8/29/2015    8/29/2015
R00421632 McCartney       Beth          P   Secretary1                      H3   CommWorkersofAmericaFT   101680 IOTM                  CD   26      1   $20.25   $42,120.00    1/15/2014    1/15/2014
R00422840 Jensen          Karen         P   LeadHelpDeskCoordinator       H3   CommWorkersofAmericaFT   101370 UToledoOnline                        CD   27      1   $19.38   $40,310.40     7/2/2011    2/17/2014
R00435436 Garcia          Teri          P   Secretary1                      H3   CommWorkersofAmericaFT   112150 DeanͲCAL                            CN   26      1   $18.71   $38,916.80   12/14/2015   12/14/2015
R00445909 Zaborski        Wendy         P   Secretary1                      H4   CommWorkersofAmericaPT   101850 DeanͲEngineering                  CN   26    0.8   $18.71   $31,133.44    12/9/2015    12/9/2015
R00446977 McCune          Shannon       P   AdminAssistant1                H3   CommWorkersofAmericaFT   102170 LawͲPlacement                       CN   28      1   $23.66   $49,212.80    3/17/2008    3/17/2008
R00473585 Sheidler        Annette       P   Secretary1                      H3   CommWorkersofAmericaFT   102460 SchoolofIntervention&Wellness     CN   26      1   $19.31   $40,164.80   12/15/2014   12/15/2014
R00482853 Green           Regina        P   CustodialWorker                 H3   CommWorkersofAmericaFT   105570 MCBuildingServices                  CN   13      1   $17.96   $37,356.80   10/18/2010   10/18/2010
R00483497 Neuser          Christopher   P   Groundskeeper1                  H3   CommWorkersofAmericaFT   105630 CareOfGroundsͲMC                  CN    4      1   $20.42   $42,473.60   11/19/2007   11/19/2007
R00484473 Obertacz        Jennifer      P   LibraryMediaTechAsst2        H3   CommWorkersofAmericaFT   100490 UniversityLibraries                  CD   26      1   $18.06   $37,564.80    6/16/2014    6/16/2014
R00494379 Saad            Corri         P   ElectricianJourneyman2         H3   CommWorkersofAmericaFT   105580 Maintenance/Electric                  CD   12      1   $34.15   $71,032.00    8/25/2011    8/25/2011
R00496950 Duran           Gina          P   DataSystemsCoord.1            H3   CommWorkersofAmericaFT   103210 FinancialAid                         CD   29      1   $20.19   $41,995.20     3/6/2018     3/6/2018
R00501967 Dougherty       Catherine     P   CustodialWorker                 H3   CommWorkersofAmericaFT   105570 MCBuildingServices                  CN   13      1   $16.23   $33,758.40    8/26/2013    8/26/2013
R00528699 Murawski        Susan         P   RecordsMgmtOfficer1           H4   CommWorkersofAmericaPT   103170 Registrar                  CD   27    0.5   $17.94   $18,657.60    8/22/2019    6/20/2018
R00531318 Littleton       Beverly       P   CustodialWorker                 H3   CommWorkersofAmericaFT   105570 MCBuildingServices                  CN   13      1   $14.26   $29,660.80   10/20/2017   10/20/2017
R00568916 Stanton         Brandee       P   BuildingServicesWorker         H3   CommWorkersofAmericaFT   105570 MCBuildingServices                  CD    3      1   $17.94   $37,315.20   12/30/2012   12/30/2012
R00581846 Bierie          Christopher   P   Groundskeeper2                  H3   CommWorkersofAmericaFT   105630 CareOfGroundsͲMC                  CN    6      1   $21.71   $45,156.80    11/9/2011    11/9/2011
R00609775 Smieszek        Lauren        P   EventsCoordinator1             H3   CommWorkersofAmericaFT   102070 DeanͲLawSchool                  CD   27      1   $17.94   $37,315.20    12/3/2018    12/3/2018
R00618228 Gantzos         Tanya         P   FinAidResourceAnalyst1       H3   CommWorkersofAmericaFT   103210 FinancialAid                         CD   26      1   $17.97   $37,377.60   12/11/2017    12/7/2015
R00643917 Greenich        Angel         P   CustodialWorker                 H3   CommWorkersofAmericaFT   105570 MCBuildingServices                  CN   13      1   $18.69   $38,875.20    7/30/2007    7/30/2007
R00643968 Young           Brenda        P   Admin.Assistant1               H3   CommWorkersofAmericaFT   104210 StudentUnionͲMain                    CD   28      1   $25.82   $53,705.60    8/13/2007    8/13/2007
R00658129 Erard           Ashley        P   RecordsMgmtOfficer1           H3   CommWorkersofAmericaFT   103170 Registrar                  CN   27      1   $17.04   $35,443.20    1/13/2020    1/13/2020
R00660334 Lawrence        Nancy         P   AdmissionsAnalyst2             H3   CommWorkersofAmericaFT   103100 EnrollmentOperations                 CN   27      1   $19.83   $41,246.40   10/22/2007   10/22/2007
R00661778 Chapman         Lorri         P   LeadMedicalAssistant(12mon   H3   CommWorkersofAmericaFT   112420 MainCampusMedicalCenterͲMCMC     CN   28    0.8   $25.32   $42,132.48    11/5/2007    11/5/2007
R00661865 Sutphin         Kim           P   CustodialWorker                 H3   CommWorkersofAmericaFT   105570 MCBuildingServices                  CN   13      1   $18.69   $38,875.20     2/2/2008     2/2/2008
R00661866 Crawford        Tonya         P   CustodialWorker                 H3   CommWorkersofAmericaFT   105570 MCBuildingServices                  CN   13      1   $18.69   $38,875.20    11/3/2007    11/3/2007
                                                                                                                                                                                                                             Case: 3:22-cv-01899-JRK Doc #: 34-1 Filed: 12/01/23 31 of 48. PageID #: 1567




R00665872 Salazar         Marco         P   CustodialWorker                 H3   CommWorkersofAmericaFT   105570 MCBuildingServices                  CN   13      1   $18.69   $38,875.20   11/27/2007   11/27/2007
R00668766 Watkins         Loranal       P   ClericalSpecialist              H3   CommWorkersofAmericaFT   106160 ParkingServices                      CD   25      1   $20.95   $43,576.00    1/28/2008    1/28/2008
R00670704 Barteck         Lisa          P   Stenographer2                   H4   CommWorkersofAmericaPT   100190 FacultySenate                  CN   25   0.75   $21.13   $32,962.80     1/7/2008     1/7/2008
R00673215 Neeld           Aric          P   MaintElectricianJourneyman    H3   CommWorkersofAmericaFT   105580 Maintenance/Electric                  CN   10      1   $29.96   $62,316.80   12/14/2007   12/14/2007
R00673232 Hobbs           Sherlette     P   ProgramAccreditationSpeciali   H3   CommWorkersofAmericaFT   106610 PharmClerkshipProg                  CD   30      1   $27.97   $58,177.60    3/11/2008    3/11/2008
R00673242 Jacobs         Ruth        P   LibraryAssociate1,Lead        H3   CommWorkersofAmericaFT   100490 UniversityLibraries            CD   27    1   $22.90   $47,632.00    8/12/2003   10/23/2007
R00680392 Delo           Stephanie   P   ComputerGraphicsDesignArtist   H3   CommWorkersofAmericaFT   104840 UniversityMarketing            CN   29    1   $27.35   $56,888.00    2/25/2008    2/25/2008
R00680462 Sieminski      Geraldine   P   CustodialWorker                 H3   CommWorkersofAmericaFT   105570 MCBuildingServices            CN   13    1   $18.59   $38,667.20     3/1/2008     3/1/2008
R00717756 Hill           James       P   MaintRepairWorker2            H3   CommWorkersofAmericaFT   105670 Maintenance/Structur            CN    5    1   $21.08   $43,846.40     4/7/2008     4/7/2008
R00717759 Tapper         William     P   BuildingLifeSafetyTech3      H3   CommWorkersofAmericaFT   107000 LifeSafetySystems             CN   31    1   $32.36   $67,308.80     4/7/2008     4/7/2008
R00718518 Buckingham     James       P   CustodialWorker                 H3   CommWorkersofAmericaFT   105570 MCBuildingServices            CN   13    1   $18.59   $38,667.20    3/30/2008    3/30/2008
R00718578 Schwartz       Jeanne      P   CustodialWorker                 H3   CommWorkersofAmericaFT   105570 MCBuildingServices            CD   13    1   $13.59   $28,267.20     1/2/2020   11/18/2019
R00723703 Rose           Kathryn     P   Secretary2                      H4   CommWorkersofAmericaPT   102010 MIME            CN   27 0.8    $21.90   $36,441.60     7/9/2012     7/9/2012
R00724398 Sayen          Amber       P   PainterJourneyman               H3   CommWorkersofAmericaFT   105670 Maintenance/Structur            CN   10    1   $29.72   $61,817.60     6/9/2008     6/9/2008
R00725747 Tansel         Zachary     P   MaintRepairWorker2            H3   CommWorkersofAmericaFT   105670 Maintenance/Structur            CN    5    1   $16.37   $34,049.60    9/17/2019    9/17/2019
R00726612 Morrison       Hunter      P   AcadAccomSpec,Compliance      H3   CommWorkersofAmericaFT   104170 StudentDisabilityServices     CD   31    1   $18.87   $39,249.60    10/5/2020    10/5/2020
R00727151 Corggens       Raymond     P   OutpatientCertPharmTech       H3   CommWorkersofAmericaFT   103870 MainCampusPharmacy            CN    5    1   $17.43   $36,254.40    8/30/2016    8/30/2016
R00727942 Walker         Laken       P   DirectServiceProvider          H3   CommWorkersofAmericaFT   106850 RocketSolutionCentral         CD   29    1   $19.38   $40,310.40    9/22/2018    3/24/2012
R00738445 Schwarz        Christian   P   CustodialWorker                 H3   CommWorkersofAmericaFT   105570 MCBuildingServices            CN   13    1   $18.02   $37,481.60    2/15/2010    2/15/2010
R00765978 Graves         Kelly       P   CustodialWorker                 H3   CommWorkersofAmericaFT   105570 MCBuildingServices            CN   13    1   $18.25   $37,960.00    7/17/2011    12/7/2008
R00766150 January        Robert      P   CustodialWorker                 H3   CommWorkersofAmericaFT   105570 MCBuildingServices            CN   13    1   $18.52   $38,521.60    1/16/2010    1/16/2010
R00767266 Saltzstein     Andrew      P   RecruitmentOfficer3            H3   CommWorkersofAmericaFT   103180 UndergraduateAdmission         CD   31    1   $22.44   $46,675.20    1/11/2017    1/11/2017
R00767967 Hallauer       Cindy       P   CustodialWorker                 H3   CommWorkersofAmericaFT   105570 MCBuildingServices            CN   13    1   $18.44   $38,355.20    1/21/2010    1/21/2010
R00771871 Edmonds        Henrietta   P   Secretary2                      H4   CommWorkersofAmericaPT   101850 DeanͲEngineering            CN   27 0.5    $19.94   $20,737.60    7/16/2011    3/28/2016
R00774956 Kranz          Andrew      P   BuildingLifeSafetyTech3      H3   CommWorkersofAmericaFT   107000 LifeSafetySystems             CN   31    1   $32.22   $67,017.60    2/10/2009    2/10/2009
R00812524 Langenderfer   Jackson     P   AsstEquipMgrͲScottPark      H3   CommWorkersofAmericaFT   105150 EquipmentRoom            CD   25    1   $15.64   $32,531.20    7/31/2017    7/31/2017
R00837416 Lytten         Alex        P   ResearchVesselOperator         H4   CommWorkersofAmericaPT   101280 LakeErieResEdCtr            CD   32 0.75   $24.29   $37,892.40    5/21/2018    5/16/2016
R00842484 Cecil          Carol       P   CustodialWorker                 H3   CommWorkersofAmericaFT   105570 MCBuildingServices            CN   13    1   $17.96   $37,356.80   10/25/2010   10/25/2010
R00842508 Sanders        Jermaine    P   CustodialWorker                 H3   CommWorkersofAmericaFT   105570 MCBuildingServices            CN   13    1   $18.02   $37,481.60    8/24/2009    8/24/2009
R00842509 Wood           Kenneth     P   CustodialWorker                 H3   CommWorkersofAmericaFT   105570 MCBuildingServices            CN   13    1   $18.02   $37,481.60    8/24/2009    8/24/2009
R00842889 Couturier      Sarah       P   CustodialWorker                 H3   CommWorkersofAmericaFT   105570 MCBuildingServices            CN   13    1   $18.52   $38,521.60     9/5/2009     9/5/2009
R00845559 Will           Matthew     P   RO2AdmissionsRepCCP           H3   CommWorkersofAmericaFT   103180 UndergraduateAdmission         CD   29    1   $18.56   $38,604.80   11/14/2019    3/21/2019
R00870326 Zile           Jamese      P   CustodialWorker                 H3   CommWorkersofAmericaFT   105570 MCBuildingServices            CN   13    1   $14.26   $29,660.80    5/29/2018    5/29/2018
R00871565 Baker          Catarina    P   CustodialWorker                 H3   CommWorkersofAmericaFT   105570 MCBuildingServices            CN   13    1   $17.96   $37,356.80    12/4/2010    12/4/2010
R00884034 Minor          Brenda      P   StudentServicesCounselor1     H3   CommWorkersofAmericaFT   100610 GraduateStudies            CN   27    1   $22.62   $47,049.60    3/28/2011    3/28/2011
R00920881 Peterson       Derek       P   CustodialWorker                 H3   CommWorkersofAmericaFT   105570 MCBuildingServices            CN   13    1   $14.26   $29,660.80   11/13/2017   11/13/2017
R00923512 AbouͲDahech    Hala        P   RecruitmentOfficer3            H3   CommWorkersofAmericaFT   112620 ATOMAdmissions                 CD   31    1   $20.12   $41,849.60    12/5/2018    12/5/2018
R00933774 Combs          Brian       P   LaboratoryMachinist2           H4   CommWorkersofAmericaPT   102010 MIME            CN    9 0.8    $22.14   $36,840.96    9/13/2010    8/19/2013
R00934855 Feichter       Michael     P   MaintRepairWorker2            H3   CommWorkersofAmericaFT   105670 Maintenance/Structur            CN    5    1   $18.90   $39,312.00    8/20/2011    8/20/2011
R00939700 Johnson        Eric        P   CustodialWorker                 H3   CommWorkersofAmericaFT   105570 MCBuildingServices            CN   13    1   $17.49   $36,379.20   10/26/2010   10/26/2010
R00953171 Smith          Gregory     P   Groundskeeper2                  H3   CommWorkersofAmericaFT   105630 CareOfGroundsͲMC            CN    6    1   $21.71   $45,156.80     2/7/2011     2/7/2011
R00954741 Kellie         Molly       P   LibraryMediaTechAsst2        H3   CommWorkersofAmericaFT   100490 UniversityLibraries            CN   26    1   $18.25   $37,960.00    1/28/2016    1/28/2016
R01006752 Schmelzer      Paul        P   Groundskeeper2                  H3   CommWorkersofAmericaFT   105630 CareOfGroundsͲMC            CN    6    1   $21.71   $45,156.80    5/19/2011    5/19/2011
R01012839 Jamison        Brandon     P   ElectricianJourneyman2         H3   CommWorkersofAmericaFT   105580 Maintenance/Electric            CN   12    1   $33.49   $69,659.20    8/18/2011    8/18/2011
R01015172 Davis          Tracy       P   CustodialWorker                 H3   CommWorkersofAmericaFT   105570 MCBuildingServices            CN   13    1   $17.44   $36,275.20     3/5/2012    10/1/2011
R01018768 Moore          Roderick    P   CustodialWorker                 H3   CommWorkersofAmericaFT   105570 MCBuildingServices            CN   13    1   $17.44   $36,275.20    2/18/2012    2/18/2012
R01018769 Jamrozy        Jacek       P   BuildingServicesWorker         H3   CommWorkersofAmericaFT   105570 MCBuildingServices            CN    3    1   $18.75   $39,000.00   10/23/2011   10/23/2011
R01053438 Martinez       Kimberlee   P   CustodialWorker                 H3   CommWorkersofAmericaFT   105570 MCBuildingServices            CN   13    1   $17.90   $37,232.00    12/5/2011    12/5/2011
R01061462 Graf           Steven      P   SheetMtl/RooferJourn           H3   CommWorkersofAmericaFT   105670 Maintenance/Structur            CN   10    1   $28.13   $58,510.40   12/27/2011   12/27/2011
R01067256 Mcclure        Keith       P   CustodialWorker                 H3   CommWorkersofAmericaFT   105570 MCBuildingServices            CN   13    1   $16.17   $33,633.60    9/20/2014    9/20/2014
R01073668 Craighead      LaToya      P   RecruitmentOfficer3            H3   CommWorkersofAmericaFT   112620 ATOMAdmissions                 CD   31    1   $27.58   $57,366.40    3/19/2012    3/19/2012
R01077277 Reese          Chawna      P   CustodialWorker                 H3   CommWorkersofAmericaFT   105570 MCBuildingServices            CN   13    1   $16.37   $34,049.60     5/2/2014     5/2/2014
R01097930 Mauter         Samantha    P   RecruitmentOfficer2            H3   CommWorkersofAmericaFT   103180 UndergraduateAdmission         CD   29    1   $19.38   $40,310.40     1/3/2019    8/15/2015
R01106447 Startzman      Michaela    P   LibraryMediaTechAsst2        H4   CommWorkersofAmericaPT   100490 UniversityLibraries            CD   26 0.5    $16.49   $17,149.60    11/3/2019     2/6/2014
R01144844 Eilerts        Eva         P   CustodialWorker                 H3   CommWorkersofAmericaFT   105570 MCBuildingServices            CN   13    1   $16.90   $35,152.00    8/18/2012    8/18/2012
R01144860 Radford        Toni        P   CustodialWorker                 H3   CommWorkersofAmericaFT   105570 MCBuildingServices            CN   13    1   $16.90   $35,152.00    8/18/2012    8/18/2012
R01145225 Felkey         Tana        P   Admin.Assistant2               H3   CommWorkersofAmericaFT   102250 PharmͲEnrollmentManagement   CN   30    1   $23.36   $48,588.80   12/17/2012   12/17/2012
R01176895 Royer          Kelsey      P   RecruitmentOfficer3            H3   CommWorkersofAmericaFT   112620 ATOMAdmissions                 CD   31    1   $22.44   $46,675.20    8/16/2014    8/15/2015
R01184435 Lowe           Brian       P   AutomotiveMechanic3            H3   CommWorkersofAmericaFT   106900 MotorVehicleOperation         CN    9    1   $24.77   $51,521.60     1/9/2013     1/9/2013
R01243543 Fedrick        Jasmine     P   RecruitmentOfficer2            H3   CommWorkersofAmericaFT   103180 UndergraduateAdmission         CD   29    1   $19.38   $40,310.40     1/3/2019     1/3/2019
R01280940 Horn           Jahnee      P   RecruitmentOfficer3            H3   CommWorkersofAmericaFT   103180 UndergraduateAdmission         CD   31    1   $21.40   $44,512.00    8/22/2018    5/14/2016
R01309236 Murphy         Steven      P   LaboratoryMachinist1           H3   CommWorkersofAmericaFT   101250 EnvironmentalSciences          CD   28    1   $19.26   $40,060.80   11/13/2017   11/13/2017
R01311761 Burkholder     Lori        P   FiscalSpecialist1              H3   CommWorkersofAmericaFT   101190 Physics                         CD   30    1   $22.70   $47,216.00    12/2/2015    12/2/2015
R01316999 Buczko         Gary        P   AirQualityTechJourneyman      H3   CommWorkersofAmericaFT   105590 Maintenance/Mechanic            CN   10    1   $30.53   $63,502.40    7/16/2001     7/1/2013
R01330493 Devolder       Alison      P   Secretary2                      H3   CommWorkersofAmericaFT   101440 Intern/CareerPlcmt             CD   27    1   $21.07   $43,825.60    11/4/2013    11/4/2013
R01336281 Edwards        Lisa        P   Secretary2                      H3   CommWorkersofAmericaFT   100980 Art                             CD   27    1   $20.97   $43,617.60    2/10/2014    2/10/2014
R01364534 Curry          Amanda      P   CustodialWorker                 H3   CommWorkersofAmericaFT   105570 MCBuildingServices            CN   13    1   $14.26   $29,660.80   10/23/2017   10/23/2017
R01366830 Szenderski     Cole        P   Groundskeeper1                  H3   CommWorkersofAmericaFT   105630 CareOfGroundsͲMC            CN    4    1   $15.17   $31,553.60    10/1/2019    10/1/2019
R01377790 Williams       Tobias      P   MaintRepairWorker2            H3   CommWorkersofAmericaFT   105670 Maintenance/Structur            CN    5    1   $20.82   $43,305.60    2/12/2015    2/12/2015
                                                                                                                                                                                                                  Case: 3:22-cv-01899-JRK Doc #: 34-1 Filed: 12/01/23 32 of 48. PageID #: 1568




R01381626 Vittetoe       Phillip     P   MaintRepairJourneyman          H3   CommWorkersofAmericaFT   105670 Maintenance/Structur            CN    9    1   $20.06   $41,724.80    4/14/2015    4/14/2015
R01384425 Musarra        Michelle    P   DirectServiceProvider          H3   CommWorkersofAmericaFT   106850 RocketSolutionCentral         CN   29    1   $21.00   $43,680.00    6/12/2015    7/26/2016
R01388650 Emmick         Linda       P   CustodialWorker                 H4   CommWorkersofAmericaPT   105570 MCBuildingServices            CN   13 0.5    $14.65   $15,236.00    12/8/2017    9/13/2015
R01402208 Moore          Tracy       P   Secretary2                      H3   CommWorkersofAmericaFT   103980 CounselingCenter               CN   27    1   $19.08   $39,686.40    2/23/2016    2/23/2016
R01405461 Hallauer       Jonathan    P   BuildingOperator                H3   CommWorkersofAmericaFT   108470 SteamManagementͲMC           CN   10    1   $22.42   $46,633.60    4/11/2016    4/11/2016
R01405609 Sillitoe            Andrea           P   Secretary1                      H3   CommWorkersofAmericaFT   101990 ElectricalEngineering            CN   26   0.8   $18.25   $30,368.00    4/11/2016    4/11/2016
R01408888 Brunn               Billie           P   BusinessServOfficer1          H3   CommWorkersofAmericaFT   104310 StudentRecCenter                CD   28     1   $20.96   $43,596.80    7/11/2016    7/11/2016
R01410439 Slottke             Alyssa           P   EventsCoordinator               H3   CommWorkersofAmericaFT   100490 UniversityLibraries              CD   27     1   $19.46   $40,476.80    8/17/2016    8/17/2016
R01415519 Stevens             Phyllis          P   CustodialWorker                 H3   CommWorkersofAmericaFT   105570 MCBuildingServices              CN   13     1   $14.62   $30,409.60    11/8/2016    11/8/2016
R01419677 Batch               Alyssa           P   ComputerGraphicsDesign         H3   CommWorkersofAmericaFT   104840 UniversityMarketing              CD   29     1   $21.54   $44,803.20   11/14/2016   11/14/2016
R01421176 Muck                Vladislav        P   MailClerkMessenger             H4   CommWorkersofAmericaPT   106100 MailServices                     CD    3   0.5   $14.39   $14,965.60   10/19/2020   10/19/2020
R01426448 Ramsey              Christina        P   CustodialWorker                 H3   CommWorkersofAmericaFT   105570 MCBuildingServices              CN   13     1   $14.26   $29,660.80    1/24/2017    1/24/2017
R01426962 Szymanski           Margaret(Peggi) P   Secretary2                      H3   CommWorkersofAmericaFT   102310 Health&HumanServicesCollege   CN   27     1   $18.57   $38,625.60     2/6/2017     2/6/2017
R01426973 Chambers            Michael          P   CustodialWorker                 H3   CommWorkersofAmericaFT   105570 MCBuildingServices              CN   13     1   $14.62   $30,409.60    9/11/2017     2/7/2017
R01429732 Thorn               Kimberly         P   GrantsCoordinator2             H3   CommWorkersofAmericaFT   107920 Research&SponsoredPrograms     CD   30     1   $22.10   $45,968.00     4/3/2017     4/3/2017
R01434285 Bullock             Natalie          P   Secretary2                      H3   CommWorkersofAmericaFT   101010 English                           CD   27     1   $18.52   $38,521.60    11/6/2017    11/6/2017
R01435471 Stiff               Jason            P   MaintRepairWorker3            H3   CommWorkersofAmericaFT   105670 Maintenance/Structur              CN    7     1   $17.37   $36,129.60    9/12/2017    9/12/2017
R01435604 Neeld               Kaleb            P   MaintRepairWorker2            H3   CommWorkersofAmericaFT   105670 Maintenance/Structur              CN    5     1   $17.43   $36,254.40    9/12/2017    9/12/2017
R01437889 Busch               Cody             P   CustodialWorker                 H3   CommWorkersofAmericaFT   105570 MCBuildingServices              CN   13     1   $14.26   $29,660.80   10/30/2017   10/30/2017
R01438369 Reed                Terrance         S   CustodialWorker                 H4   CommWorkersofAmericaPT   105570 MCBuildingServices              CN   13   0.5   $14.26   $14,830.40   12/14/2017   10/30/2017
R01438369 Reed                Terrance         P   CustodialWorker                 H4   CommWorkersofAmericaPT   105570 MCBuildingServices              CN   13   0.5   $14.26   $14,830.40   12/14/2017   10/30/2017
R01444524 Durdel              Roger            P   Groundskeeper2                  H3   CommWorkersofAmericaFT   105630 CareOfGroundsͲMC              CN    6     1   $17.71   $36,836.80    12/4/2017    12/4/2017
R01446170 Reichler            Denise           P   Secretary1                      H4   CommWorkersofAmericaPT   101220 BiologicalSciences               CN   26   0.5   $17.18   $17,867.20    12/5/2017    12/5/2017
R01450546 Bechaz              Carlos           P   CustodialWorker                 H3   CommWorkersofAmericaFT   105570 MCBuildingServices              CN   13     1   $14.26   $29,660.80    1/23/2018    1/23/2018
R01450618 Knotts              Dawn             P   CustodialWorker                 H3   CommWorkersofAmericaFT   105570 MCBuildingServices              CN   13     1   $14.26   $29,660.80     2/1/2018     2/1/2018
R01453637 Johnson             Robert           P   AirQualityTechJourneyman      H3   CommWorkersofAmericaFT   105590 Maintenance/Mechanic              CN   10     1   $26.10   $54,288.00     4/2/2018     4/2/2018
R01454961 Gary                Charlene         P   Secretary2                      H3   CommWorkersofAmericaFT   100900 ForeignLanguages                 CD   27     1   $18.52   $38,521.60    4/25/2018    4/25/2018
R01457087 Cousino             Ronald           P   AirQualityTech1               H3   CommWorkersofAmericaFT   105590 Maintenance/Mechanic              CN    7     1   $18.01   $37,460.80    6/10/2018    6/10/2018
R01457327 Pierce              Jada             P   CustodialWorker                 H3   CommWorkersofAmericaFT   105570 MCBuildingServices              CN   13     1   $14.26   $29,660.80    6/24/2018    6/24/2018
R01458232 Cruz                Angela           P   CustodialWorker                 H3   CommWorkersofAmericaFT   105570 MCBuildingServices              CN   13     1   $14.26   $29,660.80    8/17/2018    8/17/2018
R01458412 Pettaway            Destinee         P   CustodialWorker                 H4   CommWorkersofAmericaPT   105570 MCBuildingServices              CN   13   0.5   $14.26   $14,830.40     9/2/2018    7/19/2018
R01461592 Homer               Erin             P   Secretary1                      H3   CommWorkersofAmericaFT   102440 MilitaryScience                  CD   26     1   $17.97   $37,377.60    3/29/2019    10/8/2018
R01461764 LoyerII            Michael          P   AirQualityTech2               H3   CommWorkersofAmericaFT   105590 Maintenance/Mechanic              CN    8     1   $20.55   $42,744.00   10/29/2018   10/29/2018
R01462368 Lawrence            Stanford         P   CustodialWorker                 H3   CommWorkersofAmericaFT   105570 MCBuildingServices              CN   13     1   $13.54   $28,163.20     1/3/2019   10/15/2018
R01462371 Lawrence            Conceta          P   CustodialWorker                 H3   CommWorkersofAmericaFT   105570 MCBuildingServices              CN   13     1   $13.54   $28,163.20     1/2/2019   10/15/2018
R01473318 Skotynsky           Michael          P   CustodialWorker                 H3   CommWorkersofAmericaFT   105570 MCBuildingServices              CN   13     1   $13.54   $28,163.20     1/7/2019     1/7/2019
R01473388 Rasmussen           Jacob            P   ProgCoorditor/ChallengeAdven   H3   CommWorkersofAmericaFT   104310 StudentRecCenter                CD   31     1   $21.40   $44,512.00     1/7/2019     1/7/2019
R01473436 Binns               Shawn            P   MaintRepairWorker1            H3   CommWorkersofAmericaFT   105670 Maintenance/Structur              CN    4     1   $15.17   $31,553.60     1/9/2019     1/9/2019
R01475379 Ragan               Robert           P   MaintRepairWorker2            H3   CommWorkersofAmericaFT   105670 Maintenance/Structur              CN    5     1   $16.37   $34,049.60    2/13/2019    2/13/2019
R01477823 Brooks              Kristin          P   AccountClerk3                  H3   CommWorkersofAmericaFT   101040 Music                             CN   27     1   $17.04   $35,443.20   12/16/2019    3/27/2019
R01483701 Null                Jessie           P   OutpatientCertPharmTech       H3   CommWorkersofAmericaFT   103870 MainCampusPharmacy              CN    5     1   $16.37   $34,049.60    8/12/2019    8/12/2019
R01484264 Moser               Laura            P   EventsCoordinator1             H3   CommWorkersofAmericaFT   103720 CareerServices                   CD   27     1   $17.94   $37,315.20    8/22/2019    8/22/2019
R01485623 OrtegaConcepcion   Johany           P   CustodialWorker                 H4   CommWorkersofAmericaPT   105570 MCBuildingServices              CN   13   0.5   $13.31   $13,842.40   11/15/2019    9/30/2019
R01518980 Fear                Stephanie        P   AdminAssist1                   H4   CommWorkersofAmericaPT   101230 Chemistry                         CN   28   0.5   $17.10   $17,784.00     1/6/2021     1/6/2021
                                                                                                                                                                                                                               Case: 3:22-cv-01899-JRK Doc #: 34-1 Filed: 12/01/23 33 of 48. PageID #: 1569
Case: 3:22-cv-01899-JRK Doc #: 34-1 Filed: 12/01/23 34 of 48. PageID #: 1570




                     EXHIBIT H
 Case: 3:22-cv-01899-JRK Doc #: 34-1 Filed: 12/01/23 35 of 48. PageID #: 1571


From:             Wynn, Dre
To:               Ziviski, Bethany L
Subject:          RE: Report of CWA employees at MCMC
Date:             Thursday, January 14, 2021 10:40:19 AM
Attachments:      image001.jpg
                  List of Current CWA employees at MCMC (1.14.21).xlsx


Good morning,
Please find attached a revised list.
Sincerely,
Dre Wynn, PHR, SHRM-CP, MA, MSIS, MBA, MHRLR
Director of Labor/Employee Relations & HR Compliance
Human Resources
2801 W. Bancroft St. Mail Stop 405
989.545.0569 Cell
419.530.1491 Phone
419.530.1433 Fax
From: Ziviski, Bethany L <Bethany.Ziviski@utoledo.edu>
Sent: Thursday, January 14, 2021 10:33 AM
To: Wynn, Dre <Dreyon.Wynn@UToledo.Edu>
Subject: RE: Report of CWA employees at MCMC
Hi Dre,
The list attached was every CWA employee. I need you to narrow this list down to just employees
who work at MCMC.
Thank you,
Bethany
From: Wynn, Dre <Dreyon.Wynn@UToledo.Edu>
Sent: Thursday, January 14, 2021 10:04 AM
To: Ziviski, Bethany L <Bethany.Ziviski@utoledo.edu>
Subject: FW: Report of CWA employees at MCMC
Beth,
Per your request, see attached information on CWA MCMC employees provided by HRIS.
Dre
From: Otti, Sean Ezeani <Sean.Otti@UToledo.edu>
Sent: Thursday, January 14, 2021 10:02 AM
To: Wynn, Dre <Dreyon.Wynn@UToledo.Edu>
Cc: Halsey, Mark Allen <Mark.Halsey@UToledo.edu>
Subject: RE: Report of CWA employees at MCMC
Hello Dre,
Attached is your requested CWA data.
Thank you!
Sean Otti, M.B.A
+5,6$GPLQLVWUDWRU
+XPDQ5HVRXUFHV
419.530.14343KRQH
VHDQRWWL#XWROHGRHGX
 Case: 3:22-cv-01899-JRK Doc #: 34-1 Filed: 12/01/23 36 of 48. PageID #: 1572




From: Wynn, Dre <Dreyon.Wynn@UToledo.Edu>
Sent: Wednesday, January 13, 2021 4:36 PM
To: Otti, Sean Ezeani <Sean.Otti@UToledo.edu>
Subject: Report of CWA employees at MCMC
Hello Sean,
Can you please run a report of all CWA employees at MCMC. Can your report include the following:
       Employee name
       Classification
       FTE
       Hourly rate
       Hire date
Your help is greatly appreciated.
Thanks,,
Dre Wynn, PHR, SHRM-CP, MA, MSIS, MBA, MHRLR
Director of Labor/Employee Relations & HR Compliance
Human Resources
2801 W. Bancroft St. Mail Stop 405
989.545.0569 Cell
419.530.1491 Phone
419.530.1433 Fax
    ID         LAST_NAME      FIRST_NAME    CONTRACT_TYPE                TITLE       EMP_CLASS      EMP_CLASS_DESC           ORG                 ORG_DESC   SAL_TABLE SAL_GRADE FTE REG_RATE ANN_SALARY SENIORITY_DATE CURRENT_HIRE_DATE
R00001799 Armstead         Tommie          P              CustodialWorker           H3        CommWorkersofAmericaFT   105570 MCBuildingServices     CN               13    1   $18.83 $39,166.40      9/17/2005          3/26/2007
R00871565 Baker            Catarina        P              CustodialWorker           H3        CommWorkersofAmericaFT   105570 MCBuildingServices     CN               13    1   $17.96 $37,356.80      12/4/2010          12/4/2010
R00001809 Barry            Renee           P              CustodialWorker           H3        CommWorkersofAmericaFT   105570 MCBuildingServices     CN               13    1   $19.21 $39,956.80      3/11/2001          2/27/2000
R01450546 Bechaz           Carlos          P              CustodialWorker           H3        CommWorkersofAmericaFT   105570 MCBuildingServices     CN               13    1   $14.26 $29,660.80      1/23/2018          1/23/2018
R00002007 Blackford        Sandra          P              CustodialWorker           H3        CommWorkersofAmericaFT   105570 MCBuildingServices     CN               13    1   $19.06 $39,644.80       9/7/2002           8/5/2002
R00100704 Brazeau          Sandra          P              CustodialWorker           H3        CommWorkersofAmericaFT   105570 MCBuildingServices     CD               13    1   $17.84 $37,107.20     12/21/2010         12/21/2010
R00004731 Brescol          Sherri          P              CustodialWorker           H3        CommWorkersofAmericaFT   105570 MCBuildingServices     CN               13    1   $19.21 $39,956.80     12/13/1993          11/1/1993
R00003137 Brown            Shelia          P              CustodialWorker           H3        CommWorkersofAmericaFT   105570 MCBuildingServices     CN               13    1   $19.21 $39,956.80       1/8/2001           1/8/2001
R00005415 Brown            Dennis          P              BuildingServicesWorker   H3        CommWorkersofAmericaFT   105570 MCBuildingServices     CN                3    1   $20.16 $41,932.80      9/23/1991          9/23/1991
R00420081 Brown            Chad            P              BuildingServicesWorker   H3        CommWorkersofAmericaFT   105570 MCBuildingServices     CN                3    1   $16.96 $35,276.80      8/29/2015          8/29/2015
R00718518 Buckingham       James           P              CustodialWorker           H3        CommWorkersofAmericaFT   105570 MCBuildingServices     CN               13    1   $18.59 $38,667.20      3/30/2008          3/30/2008
R00094593 Buhrmester       James           P              CustodialWorker           H3        CommWorkersofAmericaFT   105570 MCBuildingServices     CN               13    1   $16.52 $34,361.60       2/6/2012           2/6/2012
R00005746 Burns            Marcia          P              CustodialWorker           H3        CommWorkersofAmericaFT   105570 MCBuildingServices     CN               13    1   $19.11 $39,748.80       4/1/2001           4/1/2001
R01437889 Busch            Cody            P              CustodialWorker           H3        CommWorkersofAmericaFT   105570 MCBuildingServices     CN               13    1   $14.26 $29,660.80     10/30/2017         10/30/2017
R00005192 Bush             Tracy           P              CustodialWorker           H3        CommWorkersofAmericaFT   105570 MCBuildingServices     CN               13    1   $19.21 $39,956.80     10/25/1998         10/12/1998
R00004868 Carlisle         Paris           P              CustodialWorker           H3        CommWorkersofAmericaFT   105570 MCBuildingServices     CN               13    1   $19.21 $39,956.80      5/19/1997          4/30/1997
R00006108 Carpenter        Thelma          P              CustodialWorker           H3        CommWorkersofAmericaFT   105570 MCBuildingServices     CN               13    1   $19.11 $39,748.80      1/22/2001          1/22/2001
R00842484 Cecil            Carol           P              CustodialWorker           H3        CommWorkersofAmericaFT   105570 MCBuildingServices     CN               13    1   $17.96 $37,356.80     10/25/2010         10/25/2010
R01426973 Chambers         Michael         P              CustodialWorker           H3        CommWorkersofAmericaFT   105570 MCBuildingServices     CN               13    1   $14.62 $30,409.60      9/11/2017           2/7/2017
R00842889 Couturier        Sarah           P              CustodialWorker           H3        CommWorkersofAmericaFT   105570 MCBuildingServices     CN               13    1   $18.52 $38,521.60       9/5/2009           9/5/2009
R00100147 Crawford         Angela          P              CustodialWorker           H3        CommWorkersofAmericaFT   105570 MCBuildingServices     CN               13    1   $18.59 $38,667.20      9/29/2008          9/29/2008
R00661866 Crawford         Tonya           P              CustodialWorker           H3        CommWorkersofAmericaFT   105570 MCBuildingServices     CN               13    1   $18.69 $38,875.20      11/3/2007          11/3/2007
R01458232 Cruz             Angela          P              CustodialWorker           H3        CommWorkersofAmericaFT   105570 MCBuildingServices     CN               13    1   $14.26 $29,660.80      8/17/2018          8/17/2018
R01364534 Curry            Amanda          P              CustodialWorker           H3        CommWorkersofAmericaFT   105570 MCBuildingServices     CN               13    1   $14.26 $29,660.80     10/23/2017         10/23/2017
R01015172 Davis            Tracy           P              CustodialWorker           H3        CommWorkersofAmericaFT   105570 MCBuildingServices     CN               13    1   $17.44 $36,275.20       3/5/2012          10/1/2011
R00501967 Dougherty        Catherine       P              CustodialWorker           H3        CommWorkersofAmericaFT   105570 MCBuildingServices     CN               13    1   $16.23 $33,758.40      8/26/2013          8/26/2013
R00090835 Dunseth          Talia           P              CustodialWorker           H3        CommWorkersofAmericaFT   105570 MCBuildingServices     CN               13    1   $17.96 $37,356.80      8/20/2011          8/20/2011
R00007397 Edmond           Frederick       P              CustodialWorker           H4        CommWorkersofAmericaPT   105570 MCBuildingServices     CN               13 0.5    $18.83 $19,583.20       1/2/2007         11/17/2006
R01144844 Eilerts          Eva             P              CustodialWorker           H3        CommWorkersofAmericaFT   105570 MCBuildingServices     CN               13    1   $16.90 $35,152.00      8/18/2012          8/18/2012
R01388650 Emmick           Linda           P              CustodialWorker           H4        CommWorkersofAmericaPT   105570 MCBuildingServices     CN               13 0.5    $14.65 $15,236.00      12/8/2017          9/13/2015
R00002176 Everett          Jairus          P              CustodialWorker           H3        CommWorkersofAmericaFT   105570 MCBuildingServices     CN               93    1   $19.31 $40,164.80      2/10/1986          2/10/1986
R00011900 Foster           April           P              CustodialWorker           H3        CommWorkersofAmericaFT   105570 MCBuildingServices     CN               13    1   $18.91 $39,332.80      10/1/2007          10/1/2007
R00005680 Franklin         Brian           P              CustodialWorker           H3        CommWorkersofAmericaFT   105570 MCBuildingServices     CN               13    1   $18.83 $39,166.40      8/14/2005          8/14/2005
R00003506 Gee              Marilyn         P              CustodialWorker           H3        CommWorkersofAmericaFT   105570 MCBuildingServices     CN               13    1   $19.21 $39,956.80      11/4/1996          11/4/1996
R00003904 Gee              Sherman         P              CustodialWorker           H3        CommWorkersofAmericaFT   105570 MCBuildingServices     CN               13    1   $19.21 $39,956.80      6/10/1996          6/10/1996
R00006903 Gibson           Tony            P              CustodialWorker           H3        CommWorkersofAmericaFT   105570 MCBuildingServices     CN               13    1   $19.21 $39,956.80      2/10/1997          2/10/1997
R00003294 Grant            James           P              CustodialWorker           H3        CommWorkersofAmericaFT   105570 MCBuildingServices     CN               13    1   $19.21 $39,956.80      8/29/1998          8/29/1998
R00765978 Graves           Kelly           P              CustodialWorker           H3        CommWorkersofAmericaFT   105570 MCBuildingServices     CN               13    1   $18.25 $37,960.00      7/17/2011          12/7/2008
R00482853 Green            Regina          P              CustodialWorker           H3        CommWorkersofAmericaFT   105570 MCBuildingServices     CN               13    1   $17.96 $37,356.80     10/18/2010         10/18/2010
R00643917 Greenich         Angel           P              CustodialWorker           H3        CommWorkersofAmericaFT   105570 MCBuildingServices     CN               13    1   $18.69 $38,875.20      7/30/2007          7/30/2007
R00767967 Hallauer         Cindy           P              CustodialWorker           H3        CommWorkersofAmericaFT   105570 MCBuildingServices     CN               13    1   $18.44 $38,355.20      1/21/2010          1/21/2010
R00002816 Hart             Jeffrey         P              CustodialWorker           H3        CommWorkersofAmericaFT   105570 MCBuildingServices     CN               93    1   $19.31 $40,164.80      4/11/1993          3/18/1993
R00007396 Hoagland         Matthew         P              CustodialWorker           H4        CommWorkersofAmericaPT   105570 MCBuildingServices     CN               13 0.5    $18.83 $19,583.20      1/17/2006          3/29/2006
R00002767 Hudson           Myra            P              CustodialWorker           H3        CommWorkersofAmericaFT   105570 MCBuildingServices     CN               93    1   $19.31 $40,164.80      9/12/1985          9/12/1985
R00003423 Jamrozy          Marie           P              BuildingServicesWorker   H3        CommWorkersofAmericaFT   105570 MCBuildingServices     CN                3    1   $20.01 $41,620.80       9/7/2002           9/7/2002
R01018769 Jamrozy          Jacek           P              BuildingServicesWorker   H3        CommWorkersofAmericaFT   105570 MCBuildingServices     CN                3    1   $18.75 $39,000.00     10/23/2011         10/23/2011
R00766150 January          Robert          P              CustodialWorker           H3        CommWorkersofAmericaFT   105570 MCBuildingServices     CN               13    1   $18.52 $38,521.60      1/16/2010          1/16/2010
R00005764 Johnson          Deborah         P              CustodialWorker           H3        CommWorkersofAmericaFT   105570 MCBuildingServices     CN               13    1   $19.11 $39,748.80      5/21/2001           1/8/2001
R00939700 Johnson          Eric            P              CustodialWorker           H3        CommWorkersofAmericaFT   105570 MCBuildingServices     CN               13    1   $17.49 $36,379.20     10/26/2010         10/26/2010
R01450618 Knotts           Dawn            P              CustodialWorker           H3        CommWorkersofAmericaFT   105570 MCBuildingServices     CN               13    1   $14.26 $29,660.80       2/1/2018           2/1/2018
R00003236 Knox             Kenny           P              CustodialWorker           H3        CommWorkersofAmericaFT   105570 MCBuildingServices     CN               13    1   $19.21 $39,956.80      2/10/1997          2/10/1997
R00003218 Lake             Jeanette        P              CustodialWorker           H3        CommWorkersofAmericaFT   105570 MCBuildingServices     CN               93    1   $19.31 $40,164.80      4/25/1990          4/25/1990
R01462368 Lawrence         Stanford        P              CustodialWorker           H3        CommWorkersofAmericaFT   105570 MCBuildingServices     CN               13    1   $13.54 $28,163.20       1/3/2019         10/15/2018
R01462371 Lawrence         Conceta         P              CustodialWorker           H3        CommWorkersofAmericaFT   105570 MCBuildingServices     CN               13    1   $13.54 $28,163.20       1/2/2019         10/15/2018
R00531318 Littleton        Beverly         P              CustodialWorker           H3        CommWorkersofAmericaFT   105570 MCBuildingServices     CN               13    1   $14.26 $29,660.80     10/20/2017         10/20/2017
R00002966 Livingston       Marnita         P              CustodialWorker           H3        CommWorkersofAmericaFT   105570 MCBuildingServices     CN               13    1   $19.21 $39,956.80      10/4/1998          5/18/1997
R01053438 Martinez         Kimberlee       P              CustodialWorker           H3        CommWorkersofAmericaFT   105570 MCBuildingServices     CN               13    1   $17.90 $37,232.00      12/5/2011          12/5/2011
R01067256 Mcclure          Keith           P              CustodialWorker           H3        CommWorkersofAmericaFT   105570 MCBuildingServices     CN               13    1   $16.17 $33,633.60      9/20/2014          9/20/2014
R00003286 McIntosh         Carol           P              CustodialWorker           H3        CommWorkersofAmericaFT   105570 MCBuildingServices     CN               13    1   $18.83 $39,166.40      7/25/2005          7/25/2005
R00006329 Mickle           Deborah         P              CustodialWorker           H3        CommWorkersofAmericaFT   105570 MCBuildingServices     CN               13    1   $19.21 $39,956.80      6/15/1998           7/6/1997
R00001736 Middlebrooks     Pamela          P              CustodialWorker           H3        CommWorkersofAmericaFT   105570 MCBuildingServices     CN               13    1   $19.21 $39,956.80      7/17/2000          7/17/2000
R00002699 Middlebrooks     Cora            P              CustodialWorker           H3        CommWorkersofAmericaFT   105570 MCBuildingServices     CN               13    1   $19.21 $39,956.80      11/1/1998         10/11/1998
R00003136 Monhollen        Mark            P              CustodialWorker           H3        CommWorkersofAmericaFT   105570 MCBuildingServices     CN               13    1   $19.21 $39,956.80       8/7/2000           5/4/2000
                                                                                                                                                                                                                                             Case: 3:22-cv-01899-JRK Doc #: 34-1 Filed: 12/01/23 37 of 48. PageID #: 1573




R01018768 Moore            Roderick        P              CustodialWorker           H3        CommWorkersofAmericaFT   105570 MCBuildingServices     CN               13    1   $17.44 $36,275.20      2/18/2012          2/18/2012
R00227170 Mullins          Renee           P              CustodialWorker           H3        CommWorkersofAmericaFT   105570 MCBuildingServices     CN               13    1   $16.09 $33,467.20      4/10/2015          4/10/2015
R00004871 Munoz            Rosa            P              CustodialWorker           H3        CommWorkersofAmericaFT   105570 MCBuildingServices     CN               13    1   $19.21 $39,956.80       1/7/2001           1/7/2001
R00001834 Nagy             Karin           P              CustodialWorker           H3        CommWorkersofAmericaFT   105570 MCBuildingServices     CN               13    1   $18.91 $39,332.80      7/19/2004          7/19/2004
R00001651 Nobles           Tonya           P              CustodialWorker           H3        CommWorkersofAmericaFT   105570 MCBuildingServices     CN               13    1   $19.21 $39,956.80      9/30/2000          9/30/2000
R01485623 OrtegaConcepcion   Johany      P   CustodialWorker           H4   CommWorkersofAmericaPT   105570 MCBuildingServices   CN   13   0.5   $13.31   $13,842.40   11/15/2019    9/30/2019
R00002523 Palmer              Alanna      P   CustodialWorker           H3   CommWorkersofAmericaFT   105570 MCBuildingServices   CN   13     1   $18.91   $39,332.80   11/14/2004   10/21/2007
R00920881 Peterson            Derek       P   CustodialWorker           H3   CommWorkersofAmericaFT   105570 MCBuildingServices   CN   13     1   $14.26   $29,660.80   11/13/2017   11/13/2017
R01458412 Pettaway            Destinee    P   CustodialWorker           H4   CommWorkersofAmericaPT   105570 MCBuildingServices   CN   13   0.5   $14.26   $14,830.40     9/2/2018    7/19/2018
R01457327 Pierce              Jada        P   CustodialWorker           H3   CommWorkersofAmericaFT   105570 MCBuildingServices   CN   13     1   $14.26   $29,660.80    6/24/2018    6/24/2018
R00005404 Price               Lawrence    P   CustodialWorker           H3   CommWorkersofAmericaFT   105570 MCBuildingServices   CN   13     1   $18.97   $39,457.60   12/28/2003   12/28/2003
R01144860 Radford             Toni        P   CustodialWorker           H3   CommWorkersofAmericaFT   105570 MCBuildingServices   CN   13     1   $16.90   $35,152.00    8/18/2012    8/18/2012
R01426448 Ramsey              Christina   P   CustodialWorker           H3   CommWorkersofAmericaFT   105570 MCBuildingServices   CN   13     1   $14.26   $29,660.80    1/24/2017    1/24/2017
R01438369 Reed                Terrance    S   CustodialWorker           H4   CommWorkersofAmericaPT   105570 MCBuildingServices   CN   13   0.5   $14.26   $14,830.40   12/14/2017   10/30/2017
R01438369 Reed                Terrance    P   CustodialWorker           H4   CommWorkersofAmericaPT   105570 MCBuildingServices   CN   13   0.5   $14.26   $14,830.40   12/14/2017   10/30/2017
R01077277 Reese               Chawna      P   CustodialWorker           H3   CommWorkersofAmericaFT   105570 MCBuildingServices   CN   13     1   $16.37   $34,049.60     5/2/2014     5/2/2014
R00005938 Reynolds            Cynthia     P   CustodialWorker           H3   CommWorkersofAmericaFT   105570 MCBuildingServices   CN   13     1   $18.91   $39,332.80    3/28/2004    3/28/2004
R00011395 Riley               Rhonda      P   CustodialWorker           H3   CommWorkersofAmericaFT   105570 MCBuildingServices   CN   13     1   $18.20   $37,856.00    5/22/2007    5/22/2007
R00006739 Roberts             Peggy       P   CustodialWorker           H3   CommWorkersofAmericaFT   105570 MCBuildingServices   CN   13     1   $18.83   $39,166.40    9/17/2005    9/17/2005
R00004556 Rodgers             Anita       P   CustodialWorker           H3   CommWorkersofAmericaFT   105570 MCBuildingServices   CN   13     1   $19.21   $39,956.80     6/3/2001     6/3/2001
R00005941 Russell             Ephraim     P   CustodialWorker           H3   CommWorkersofAmericaFT   105570 MCBuildingServices   CN   13     1   $19.21   $39,956.80   10/17/1994   10/17/1994
R00003497 Sadowy              Elizabeth   P   CustodialWorker           H3   CommWorkersofAmericaFT   105570 MCBuildingServices   CN   13     1   $19.21   $39,956.80    7/17/2000    11/2/1999
R00005260 Salazar             Soledad     P   CustodialWorker           H3   CommWorkersofAmericaFT   105570 MCBuildingServices   CN   13     1   $18.83   $39,166.40   10/23/2005    8/30/2004
R00665872 Salazar             Marco       P   CustodialWorker           H3   CommWorkersofAmericaFT   105570 MCBuildingServices   CN   13     1   $18.69   $38,875.20   11/27/2007   11/27/2007
R00001528 Sanders             Anita       P   CustodialWorker           H3   CommWorkersofAmericaFT   105570 MCBuildingServices   CN   13     1   $19.21   $39,956.80    5/27/1996    5/24/1994
R00842508 Sanders             Jermaine    P   CustodialWorker           H3   CommWorkersofAmericaFT   105570 MCBuildingServices   CN   13     1   $18.02   $37,481.60    8/24/2009    8/24/2009
R00718578 Schwartz            Jeanne      P   CustodialWorker           H3   CommWorkersofAmericaFT   105570 MCBuildingServices   CD   13     1   $13.59   $28,267.20     1/2/2020   11/18/2019
R00738445 Schwarz             Christian   P   CustodialWorker           H3   CommWorkersofAmericaFT   105570 MCBuildingServices   CN   13     1   $18.02   $37,481.60    2/15/2010    2/15/2010
R00005032 Scurles             Richard     P   CustodialWorker           H3   CommWorkersofAmericaFT   105570 MCBuildingServices   CN   13     1   $18.97   $39,457.60    1/27/2003    1/27/2003
R00003781 Shively             Donna       P   CustodialWorker           H3   CommWorkersofAmericaFT   105570 MCBuildingServices   CN   13     1   $19.06   $39,644.80     8/5/2002     8/5/2002
R00680462 Sieminski           Geraldine   P   CustodialWorker           H3   CommWorkersofAmericaFT   105570 MCBuildingServices   CN   13     1   $18.59   $38,667.20     3/1/2008     3/1/2008
R01473318 Skotynsky           Michael     P   CustodialWorker           H3   CommWorkersofAmericaFT   105570 MCBuildingServices   CN   13     1   $13.54   $28,163.20     1/7/2019     1/7/2019
R00005866 Smith               Kirk        P   CustodialWorker           H3   CommWorkersofAmericaFT   105570 MCBuildingServices   CN   13     1   $17.44   $36,275.20    12/5/2011    12/5/2011
R00001460 Spearman            Lula        P   CustodialWorker           H3   CommWorkersofAmericaFT   105570 MCBuildingServices   CN   13     1   $18.83   $39,166.40    9/17/2005    9/17/2005
R00005748 Spengler            David       P   BuildingServicesWorker   H3   CommWorkersofAmericaFT   105570 MCBuildingServices   CN    3     1   $20.16   $41,932.80    10/9/1979    10/9/1979
R00004806 Spitulski           Ralph       P   CustodialWorker           H3   CommWorkersofAmericaFT   105570 MCBuildingServices   CN   93     1   $19.31   $40,164.80    6/29/1983    6/29/1983
R00568916 Stanton             Brandee     P   BuildingServicesWorker   H3   CommWorkersofAmericaFT   105570 MCBuildingServices   CD    3     1   $17.94   $37,315.20   12/30/2012   12/30/2012
R01415519 Stevens             Phyllis     P   CustodialWorker           H3   CommWorkersofAmericaFT   105570 MCBuildingServices   CN   13     1   $14.62   $30,409.60    11/8/2016    11/8/2016
R00661865 Sutphin             Kim         P   CustodialWorker           H3   CommWorkersofAmericaFT   105570 MCBuildingServices   CN   13     1   $18.69   $38,875.20     2/2/2008     2/2/2008
R00002695 Szymanski           Thomas      P   CustodialWorker           H3   CommWorkersofAmericaFT   105570 MCBuildingServices   CN   93     1   $19.31   $40,164.80    9/30/1991    9/30/1991
R00001784 Ware                Anthony     P   CustodialWorker           H3   CommWorkersofAmericaFT   105570 MCBuildingServices   CN   13     1   $19.21   $39,956.80    6/10/1996    6/10/1996
R00001858 Warren              Talven      P   CustodialWorker           H3   CommWorkersofAmericaFT   105570 MCBuildingServices   CN   13     1   $18.91   $39,332.80     4/4/2004     4/4/2004
R00014454 Warren              Mary        P   CustodialWorker           H3   CommWorkersofAmericaFT   105570 MCBuildingServices   CN   13     1   $16.91   $35,172.80    6/17/2008    8/29/2015
R00003179 Welsh               James       P   CustodialWorker           H3   CommWorkersofAmericaFT   105570 MCBuildingServices   CN   13     1   $19.21   $39,956.80    5/25/1998    5/25/1998
R00002895 Whitehead           Dianna      P   CustodialWorker           H3   CommWorkersofAmericaFT   105570 MCBuildingServices   CN   13     1   $19.06   $39,644.80   10/14/2002   10/14/2002
R00842509 Wood                Kenneth     P   CustodialWorker           H3   CommWorkersofAmericaFT   105570 MCBuildingServices   CN   13     1   $18.02   $37,481.60    8/24/2009    8/24/2009
R00870326 Zile                Jamese      P   CustodialWorker           H3   CommWorkersofAmericaFT   105570 MCBuildingServices   CN   13     1   $14.26   $29,660.80    5/29/2018    5/29/2018
                                                                                                                                                                                                         Case: 3:22-cv-01899-JRK Doc #: 34-1 Filed: 12/01/23 38 of 48. PageID #: 1574
Case: 3:22-cv-01899-JRK Doc #: 34-1 Filed: 12/01/23 39 of 48. PageID #: 1575




                      EXHIBIT I
 Case: 3:22-cv-01899-JRK Doc #: 34-1 Filed: 12/01/23 40 of 48. PageID #: 1576


From:            Ziviski, Bethany L
To:              Wynn, Dre
Subject:         RE: Report of CWA employees at MCMC
Attachments:     image001.jpg


Hi Dre,
As we discussed when we spoke a few days ago, the request was for a list of employees who work at
the Main Campus Medical Center. “MC” or “Main Campus” represents a bigger group of employees
that what I was seeking. In the future, please remember to use all of your resources if you have
questions. For example, you may want to reach out to the consultant who supports the leader who
oversees the Main Campus Medical Center.
Thank you,
Bethany
From: Wynn, Dre <Dreyon.Wynn@UToledo.Edu>
Sent: Thursday, January 14, 2021 11:49 PM
To: Ziviski, Bethany L <Bethany.Ziviski@utoledo.edu>
Subject: FW: Report of CWA employees at MCMC
Hello Beth,
Per Sean’s email below, he added a Tab at the bottom of the spreadsheet called “MC” that has
employees working at MCMC.
I reviewed it and there is a total of 49 employees, please see attached.
Thanks,
Dre Wynn, PHR, SHRM-CP, MA, MSIS, MBA, MHRLR
Director of Labor/Employee Relations & HR Compliance
Human Resources
2801 W. Bancroft St. Mail Stop 405
989.545.0569 Cell
419.530.1491 Phone
419.530.1433 Fax
From: Otti, Sean Ezeani <Sean.Otti@UToledo.edu>
Sent: Thursday, January 14, 2021 2:29 PM
To: Wynn, Dre <Dreyon.Wynn@UToledo.Edu>
Subject: RE: Report of CWA employees at MCMC
Hello Dre,
Yes I have added the JBLIN code. I have a tab for those that are just “MC”. Does this work for your
request?
Thank you!
Sean Otti, M.B.A
+5,6$GPLQLVWUDWRU
+XPDQ5HVRXUFHV
419.530.14343KRQH
VHDQRWWL#XWROHGRHGX


From: Wynn, Dre <Dreyon.Wynn@UToledo.Edu>
Sent: Thursday, January 14, 2021 1:07 PM
 Case: 3:22-cv-01899-JRK Doc #: 34-1 Filed: 12/01/23 41 of 48. PageID #: 1577


To: Otti, Sean Ezeani <Sean.Otti@UToledo.edu>
Subject: RE: Report of CWA employees at MCMC
Hello Sean,
Thank you again for sending over this report.
The report has all CWA employees listed and a description of MC Building Services for some
employees that work at MCMC.
However, that description does not capture all of them.
Is there code or a number that would identify which CWA employees physically work at MCMC that
could be generated into a report?
Thanks,
Sincerely,
Dre Wynn, PHR, SHRM-CP, MA, MSIS, MBA, MHRLR
Director of Labor/Employee Relations & HR Compliance
Human Resources
2801 W. Bancroft St. Mail Stop 405
989.545.0569 Cell
419.530.1491 Phone
419.530.1433 Fax
From: Otti, Sean Ezeani <Sean.Otti@UToledo.edu>
Sent: Thursday, January 14, 2021 10:02 AM
To: Wynn, Dre <Dreyon.Wynn@UToledo.Edu>
Cc: Halsey, Mark Allen <Mark.Halsey@UToledo.edu>
Subject: RE: Report of CWA employees at MCMC
Hello Dre,
Attached is your requested CWA data.
Thank you!
Sean Otti, M.B.A
+5,6$GPLQLVWUDWRU
+XPDQ5HVRXUFHV
419.530.14343KRQH
VHDQRWWL#XWROHGRHGX


From: Wynn, Dre <Dreyon.Wynn@UToledo.Edu>
Sent: Wednesday, January 13, 2021 4:36 PM
To: Otti, Sean Ezeani <Sean.Otti@UToledo.edu>
Subject: Report of CWA employees at MCMC
Hello Sean,
Can you please run a report of all CWA employees at MCMC. Can your report include the following:
       Employee name
       Classification
       FTE
       Hourly rate
       Hire date
Your help is greatly appreciated.
Thanks,,
 Case: 3:22-cv-01899-JRK Doc #: 34-1 Filed: 12/01/23 42 of 48. PageID #: 1578


Dre Wynn, PHR, SHRM-CP, MA, MSIS, MBA, MHRLR
Director of Labor/Employee Relations & HR Compliance
Human Resources
2801 W. Bancroft St. Mail Stop 405
989.545.0569 Cell
419.530.1491 Phone
419.530.1433 Fax
Case: 3:22-cv-01899-JRK Doc #: 34-1 Filed: 12/01/23 43 of 48. PageID #: 1579




                      EXHIBIT J
 Case: 3:22-cv-01899-JRK Doc #: 34-1 Filed: 12/01/23 44 of 48. PageID #: 1580


From:            Ziviski, Bethany L
To:              Elliott, John
Subject:         FW: MRW 2 Open Position
Attachments:     image001.gif
                 image002.png


Hello John,
I wanted to make you aware of this situation.
Dre worked out an advance placement for an employee without communicating with the
employment team or securing an MOU with the Union. A final offer was made to the candidate, and
on 1/20/2021 management notified the employment team that the candidate would be starting on
1/25/2021. No background check or pre-employment paperwork was completed for the candidate
because there was no knowledge of the offer or advance step placement.
Thank you,
Bethany
From: Fahey, Kimberly <kimberly.stec@utoledo.edu>
Sent: Wednesday, January 20, 2021 8:31 AM
To: Fahey, Kimberly <kimberly.stec@utoledo.edu>
Cc: Wynn, Dre <Dreyon.Wynn@UToledo.Edu>; Ziviski, Bethany L <Bethany.Ziviski@utoledo.edu>
Subject: RE: MRW 2 Open Position
Dre,
I need the signed MOU, please.
Kimberly Fahey
Human Resources Specialist
University of Toledo, Human Resources
2801 W. Bancroft Street, Mail Stop 205
Toledo, Ohio 43606-3390
Office Phone: 419.530.1480
Main HR Desk: 419.530.4747
Physical Address: Center for Administrative Support
2935 East Rocket Drive
Toledo, Ohio 43606
kimberly.stec@utoledo.edu

University of Toledo Logo


From: Fahey, Kimberly
Sent: Wednesday, January 20, 2021 8:23 AM
To: Levicki, Christopher J <Christopher.Levicki@utoledo.edu>
Cc: Wynn, Dre <Dreyon.Wynn@UToledo.Edu>; Skolmowski, Cheryl
<Cheryl.Skolmowski@UToledo.Edu>; Reinhart, Chanie <Chandra.Reinhart@utoledo.edu>
Subject: RE: MRW 2 Open Position
Chris,
This is the first I am hearing about you having a final candidate or making an offer. I see the below
emails and myself and Chanie, had no idea that you wanted to make an offer to Russell or that you
sought Dre for step advancements.
 Case: 3:22-cv-01899-JRK Doc #: 34-1 Filed: 12/01/23 45 of 48. PageID #: 1581


I will of course work as fast as I can but I cannot guarantee a start date until the background has
come back.
Kimberly Fahey
Human Resources Specialist
University of Toledo, Human Resources
2801 W. Bancroft Street, Mail Stop 205
Toledo, Ohio 43606-3390
Office Phone: 419.530.1480
Main HR Desk: 419.530.4747
Physical Address: Center for Administrative Support
2935 East Rocket Drive
Toledo, Ohio 43606
kimberly.stec@utoledo.edu

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From: Levicki, Christopher J <Christopher.Levicki@utoledo.edu>
Sent: Wednesday, January 20, 2021 7:29 AM
To: Fahey, Kimberly <kimberly.stec@utoledo.edu>
Cc: Wynn, Dre <Dreyon.Wynn@UToledo.Edu>; Skolmowski, Cheryl
<Cheryl.Skolmowski@UToledo.Edu>
Subject: FW: MRW 2 Open Position
Kimberly
Russell Leach is starting employment on 1/25/21 and called to let me know that he has not received
any new hire information yet. Is there any documentation needed at this time?
Thank you,
Christopher J Levicki
Project Manager
Manager, Structural Maintenance
Facilities & Construction
Plant Operations, Mail Stop 216
2801 W. Bancroft St.
Toledo, Ohio 43606-3390
419.530.1005 Office
419.779.5493 Mobile
christopher.levicki@utoledo.edu

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From: Levicki, Christopher J
Sent: Wednesday, January 6, 2021 10:32 AM
To: Wynn, Dre <Dreyon.Wynn@UToledo.Edu>
Cc: Skolmowski, Cheryl <Cheryl.Skolmowski@UToledo.Edu>; Phillips, Zachary
<Zachary.Phillips@UToledo.Edu>; Levicki, Christopher J <Christopher.Levicki@utoledo.edu>
Subject: RE: MRW 2 Open Position
 Case: 3:22-cv-01899-JRK Doc #: 34-1 Filed: 12/01/23 46 of 48. PageID #: 1582


Dre / Cheryl
Russell Leach accepted the MRW 2 position yesterday. His start date will be 1/25/2021. His starting
hourly wage will be $16.37/hr. If you need to contact him, his email and phone are as follows:
Email – russleach@att.net
Phone – 419-346-1357
Thank you,
Christopher J Levicki
Project Manager
Manager, Structural Maintenance
Facilities & Construction
Plant Operations, Mail Stop 216
2801 W. Bancroft St.
Toledo, Ohio 43606-3390
419.530.1005 Office
419.779.5493 Mobile
christopher.levicki@utoledo.edu

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From: Wynn, Dre <Dreyon.Wynn@UToledo.Edu>
Sent: Wednesday, December 23, 2020 4:01 PM
To: Levicki, Christopher J <Christopher.Levicki@utoledo.edu>
Subject: Re: MRW 2 Open Position
Chris,
What is Russell Leach's start date in the MRW 2 position. Also, I need his hourly wage in order
to verify the Schedule in the contract you are taking his hourly wage from
Regards,

Dre Wynn, PHR, SHRM-CP, MA, MSIS, MBA, MHRLR
Director of Labor/Employee Relations & HR Compliance
Human Resources
2801 W. Bancroft St. Mail Stop 405
989.545.0569 Cell
419.530. Phone
419.530.1433 Fax

From: Levicki, Christopher J <Christopher.Levicki@utoledo.edu>
Sent: Friday, December 18, 2020 8:04 AM
To: Wynn, Dre <Dreyon.Wynn@UToledo.Edu>
Subject: RE: MRW 2 Open Position
Dre
I just wanted to check if I am ok to make Russell Leach the offer including the advanced step?
Thank you,
Christopher J Levicki
Project Manager
Manager, Structural Maintenance
 Case: 3:22-cv-01899-JRK Doc #: 34-1 Filed: 12/01/23 47 of 48. PageID #: 1583


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christopher.levicki@utoledo.edu

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From: Wynn, Dre <Dreyon.Wynn@UToledo.Edu>
Sent: Wednesday, December 16, 2020 3:00 PM
To: Levicki, Christopher J <Christopher.Levicki@utoledo.edu>
Subject: Re: MRW 2 Open Position
Chris,
I will give you an update tomorrow morning.

I want to speak with Erika and get them to agree.

I dont want them filing a grievance.
Talk with you tomorrow.
Dre

From: Levicki, Christopher J <Christopher.Levicki@utoledo.edu>
Sent: Monday, December 14, 2020 10:10 AM
To: Wynn, Dre <Dreyon.Wynn@UToledo.Edu>
Cc: Levicki, Christopher J <Christopher.Levicki@utoledo.edu>
Subject: MRW 2 Open Position
Dre
We have interviewed for the open MRW 2 position and would like to make an offer to Russell Leach.
Due to his experience and education, I would like to start him out at step 3 in range 5. Step 3 would
put his compensation even with the lowest paid MRW 2 that is currently on my staff. If I am able to
make the offer at this step, I think he may accept the position.
I spoke briefly with Erika to see if the Union would have any issues with this and she indicated that
there wouldn’t be. I wanted to check with you also before I made the offer.
Thank you,
Christopher J Levicki
Project Manager
Manager, Structural Maintenance
Facilities & Construction
Plant Operations, Mail Stop 216
2801 W. Bancroft St.
Toledo, Ohio 43606-3390
419.530.1005 Office
419.779.5493 Mobile
 Case: 3:22-cv-01899-JRK Doc #: 34-1 Filed: 12/01/23 48 of 48. PageID #: 1584


christopher.levicki@utoledo.edu

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